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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Kenneth Swenson,
Cindy Card and LaDonna Card
Pro Se                                    CIVIL NO.
                     Plaintiffs
v.

Judge Clyde Vedder
In Official Capacity
Court of Common Pleas of York County

Erik D Spurlin,
Attorney, MPL Law Firm
And in individual Capacity

Julie Stoil Fernandez,
Attorney, Finkel & Fernandez, LLP.
And in individual Capacity
Finkel & Fernandez, LLP

Raymond Card,
Disowned son and Illegal co-guardian

Kermit Card,
Disowned son and Illegal co-guardian

Brandy G Hoke,
Attorney, Ream, Carr, Markey, Woloshin & Hunter LLP
And in individual Capacity

                     Defendants




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    MOTION FOR DECLATORY RELIEF AND PRELIMINARY
INJUNCTION AND TEMPORARY RESTRAINING ORDER DEMAND
                    JURY TRIAL

      COMES NOW Cindy Card, Ladonna Card and Kenneth Swenson Pro Ses, and moves this

Court pursuant to Rule 57 under Rule 65 to provide Declaratory Judgment and grant a Preliminary

Injunction and Temporary Restraining Order to protect the Estate of Mrs. Ella Card against the order

issued by the Court of Common Pleas of York County, Pennsylvania Orphans’ Court dated March

21, 2022 Order.

      Plaintiffs’ request this Honorable Court pursuant to 42 USC § 1983. 42 USC § 1985, 42

U.S.C. § 1986 and the Hobbs Act (1934) to further protect Plaintiff’s Civil Rights, which are being

violated by the March 21, 2022 order.

      The request for relief stems from actual controversy and in accordance with 28 U.S.C. §

1343 and§ 2201, 42 U.S.C. § 1983 - Violation of Civil action for deprivation of rights, 18 USC

§ 242 this court has jurisdiction and standing to issue such relief.


                                  PRELIMINARY STATEMENT

      Plaintiffs appeal all parts of the order from the lower court issued on March 21, 2022

(EXHIBIT 1).

      The Plaintiffs make this request for the following reasons:

      The lower court Judge sequestered Plaintiffs’ attorney preventing same from representing the

Plaintiffs’ interest or rights; disallowed any cross-examination and placing Plaintiff’s attorney under

a gag-order stating neither Plaintiff nor attorney “had standing” in the case before the court.

      UNLICENSED, UNADMITTED ATTORNEY:

      The lower court then ordered the Plaintiff, Mr. Swenson, even though he had “no standing”


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in the case, to the take the witness stand and answer questions posed by the Judge, opposing counsel

and a court appointed attorney. This humiliating, intimidating and threating line of questioning was

conducted in the presence of New York opposing counsel the judge allowed into the hearing via

“zoom” who had neither a license to practice law in the state of Pennsylvania nor admitted via pro

hoc vice.

        The court neither read Mr. Swenson his rights, nor informed him of his rights prior to, during,

or after taking the stand demanding he testify.

SYSTEMIC CALCULATED ATTACKS AND THREATS AGAINST THE CIVILIAN
POPULATION:
    In the Complaint being filed today, we will provide this Honorable Court with prima facie

irrefutable evidence that the Defendants engaged in a systematic, contrived violation of Plaintiff’s

constitutional due process rights; strip Plaintiffs of their civil rights; forced them to testify to a

prejudicial court in order to perpetuate a false narrative contrived to continue exploiting Plaintiff’s

mother and mother-in-law, Ella Rubina Card’s (now deceased) assets (now estate).


                                     JURISDICTION AND VENUE

 1)     The Federal Court has jurisdiction of this action pursuant to 28 U.S.C. § 1343 and§

2201.

 2)     However, The York County court had no jurisdiction over neither Kenneth Swenson,

Cindy Card or LaDonna Card. (SEE: Affidavit of Residency)

 3)     As of January 27, 2022 Kenneth Swenson entered a contract for a home in Adams

County PA, settling on the property February 28, 2022.

 4)     Cindy Card and LaDonna Card are residents of New York State.

 5)     Jurisdiction exists in federal court for the claims set forth as the First Cause of Action 42

U.S.C. § 1983 - Violation of Civil action for deprivation of rights, additionally supported by:



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         a)   The First Amendment 1.
         b)   The Fourth Amendment 2
         c)   The Fifth Amendment 3.
         d)   The Seventh Amendment 4
         e)   The Eighth Amendment 5
         f)   The Fourteenth Amendment 6

6) NO JURISDICTION IN LOWER COURT: Under 28 U.S. Code§ 1441(2), Kenneth Swenson

         has lived in Pennsylvania since August of 2016. Mrs. Ella Card has lived with Kenneth

         Swenson in Pennsylvania since August of 2016.

7) NO JURISDICTION IN LOWER COURT: Cindy Card has NEVER lived in Pennsylvania.

         Cindy Card has lived in Brooklyn, NY and been a resident and citizen of New York State and

         the United States of America for her entire life, however inserted into this action by petition

         brought by Defendant and therefore an interested party.

    8)         NO JURISDICTION IN LOWER COURT: LaDonna Card has lived in the Bronx, NY

    for several decades never residing in Pennsylvania, however inserted into this action by petition

    brought by Defendant and therefore an interested party.

    9)         Under 28 U.S. Code § 1332(a), The claim is over $75,000.00. The Plaintiffs seek the full




1
  (Amendment I) to the United States Constitution prevents the government from making laws that regulate
an establishment of religion, or that prohibit the free exercise of religion, or abridge the freedom of speech,
the freedom of the press, the freedom of assembly, or the right to petition the government for redress of
grievances
2
  (Amendment IV) to the United States Constitution prohibits unreasonable searches and seizures. In addition,
it sets requirements for issuing warrants: warrants must be issued by a judge or magistrate, justified
by probable cause, supported by oath or affirmation, and must particularly describe the place to be searched
and the persons or things to be seized
3
  (Amendment V) to the United States Constitution applies to every level of the government, including the
federal, state, and local levels, in regard to a US citizen or resident of the US. The Supreme Court furthered
the protections of this amendment through the Due Process Clause of the Fourteenth Amendment
4
   (Amendment VII) to the United States Constitution codifies the right to a jury trial in certain civil cases and
inhibits courts from overturning a jury's findings of fact.
5
   (Amendment VIII) to the United States Constitution prohibits the federal government from
imposing excessive bail, excessive fines, or cruel and unusual punishments
6
  (Amendment XIV) to the United States Constitution states that; “All persons born or naturalized in the
United States, and subject to the jurisdiction thereof, are citizens of the United States and of the State wherein
they reside. No State shall make or enforce any law which shall abridge the privileges or immunities of citizens
of the United States; nor shall any State deprive any person of life, liberty, or property, without due process of
law; nor deny to any person within its jurisdiction the equal protection of the laws..”
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control of Mrs. Ella Cards estate; two apartment buildings, a store, all bank accounts, and

investments Willed to Cindy Card the Executor of Mrs. Ella Card’s estate which the co-guardians

of record openly refuse to account for or relinquish to Cindy Card as Executor of the Estate. The

Plaintiffs seek monetary awards for damages, injury, and other awards that are just in this matter.

10)       PERJURY AND FRAUD BY DEFENDANT: Defendants fraudulently represent there

is no Will. The Defendants in fact have received copies of from the Brooklyn Supreme Court. The

sole purpose of Mrs. Ella Card being in this guardianship is to pillage Mrs. Ella Card’s estate so

that there would be nothing left for the Executor, Cindy Card.

11)       PERJURY FRAUD AND DEFAMATION BY DEFENDANT: Cindy Card has been

continually vilified since 2011 with Justice Barros going so far as to lie about Cindy and Ella

Card’s testimony in court; all of which can be shown as true.

12)       CONCEALMENT BY DEFENDANTS: The Defendants, Raymond and Kermit Card,

their attorney Julie Fernandez were given and have access to Ella Card’s Will since 2011.

13)       SELF-AUTHENTICATED WILL: Mrs. Ella Card states that she has a Will as supported

by the exhibits attached here-to.

14)    SELF-AUTHENTICATED VIOLATION OF LAW: In accordance with Article §
81.29(d):
       “The court shall not, however, invalidate or revoke a will or a codicil of an
       incapacitated person during the lifetime of such person.”

15)       The crimes are interstate between New York and Pennsylvania. Ken Swenson and Cindy

Card are the victims of crimes that were committed by Defendants.

16)       We ask this United States District Court Middle District of Pennsylvania ensure this case

remains in its jurisdiction for the following reasons: 1.) To avoid any actual or perceived conflict

of interest as set forth herein as the Defendants are involved in a Racketeering Enterprise. 2)

Plaintiffs could not get a fair hearing in the York County Orphans court due to alleged judicial

corruption and United States Constitutional rights violations further enunciated within this petition,

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as directed at and acted upon by officers of the lower Orphans Court and clear compromise of

Pennsylvania’s Code of Judicial Conduct by Judge Clyde Vedder and attending Officers of the court

(Defendants).

17)       Extrinsic fraud and fraud upon the court, occurred on the state level, therefore, making all

state judgments invalid, concluding that res judicata cannot apply to the federal court decisions

because the state level judgments were contaminated by extrinsic fraud and fraud upon the court.


               FACTUAL BACKGROUND OF LOWER COURT ACTIVITIES
                WITHOUT JURISDICTION; AND CRIMINAL AND CIVIL
                   VIOLATIONS FO DEDERAL AND STATE LAWS

1.        Prior to commencement of the March 21, 2022 hearing Plaintiff’s counsel requested on

camera chamber session with Judge Vedder, opposing counsel and the court appointed attorney.

Counsel requesting the session to inform the parties that the reason Ella Card was not present is

because she had passed in Belize Central America on 16 February 2022.

2.        After the “on camera” session, Plaintiff’s counsel returned to her position next to the

Plaintiff and informed him that she had been sequestered by the court and was instructed to inform

Plaintiff to anticipate answering questions as directed to him by the court. Counsel also informed

Plaintiff that she was instructed by the court that she could not represent Plaintiff because neither

she, nor “he [Plaintiff] had standing”. Plaintiff was then subject to questioning from all parties

present for the rest of the hearing without counsel.

3.        In the March 21, 2022, hearing Judge Vedder denied Plaintiff an attorney of his choice.

Plaintiff had hired an attorney, the attorney presented herself to the court as Plaintiff’s counsel, the

attorney is a current and practicing member of the Pennsylvania bar, was in the court room seated

across from opposing counsel and facing the bench from where Judge Vedder presided.

4.        Plaintiff was “required” to testify on behalf of himself as though he was a slave with no rights.




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5.        When Judge Vedder sequestered Plaintiff’s counsel, placed Plaintiff under oath without

affording him counsel, and began an aggressive and intimidating line of questioning directed at Plaintiff

from his robed position of authority of the bench. The Judge crossed the line of his sworn duty of

objectivity into one of personhood thus disqualifying himself as an agent of the court.

6.        In a 5-minute time-span, Judge Vedder took the York County Orphans Court back to 1790 before

the 6th Amendment of the US Constitution was ratified; back to before 1966 when Miranda was required.

7.        Judge Vedder’s reason for sequestering Plaintiff’s attorney was that Plaintiff had “no

Standing” in the matter before the court.

8.        Plaintiff is an advocate for not only his mother-in-law, but others in the United States who

have suffered untold loss and personal devastation because of Judges behavior as replicated by

Clyde Vedder.


      BACKGROUND AS TO FRAUDULENT GUARDINASHIP; AND CRIMINAL AND
              CIVIL VIOLATIONS OF FEDERAL AND STATE LAWS

9.        In March of 2011, just after the New York Supreme Court deemed Mrs. Ella Card

“incapacitated”. Immediately thereafter Mrs. Ella Card fled the United States to her native country

of Belize for safety.

10.       She knew and fully understood that if the Guardians secured her person they would do to

her what tens of thousands of guardian’s have done to those under their “care”. She knew that she

would be isolated from her family, medicated to the point of delirium, and have her estate fully

eviscerated with most, if not all the estate ending up in the pockets of the guardian, attorneys, court

evaluators, real estate agents, property managers and judges.

11.       When Mrs. Ella Card heard that there was a Senate Listening Session in Washington DC

scheduled in June of 2011 she returned from Belize in hopes of finally being able to tell her story

without the intervention and edits of the Brooklyn Supreme Court.

12.       Plaintiff met Mrs. Ella Card upon her return from Belize, hosting her in his home just prior

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to the June event.

13.       Plaintiff and Mrs. Ella Card then attended the event in Washington DC (EXHIBIT 2)

meeting up with nearly 50 other guardianship victims from around the United States.

14.       In the Hart Senate Office building Mrs. Ella Card told her story. (EXHIBIT 3)

15.       Mrs. Ella Card was then interviewed by the Washington Examiner (EXHIBIT 4)

16.       Mrs. Ella Card was also invited as a guest of the Gloria Minot radio show. (EXHIBIT 5)

17.       Mrs. Ella Card was afraid for her life and refused to return to New York, even though it had

been her home for the prior 45 years. She needed a place of refuge and a safe place to live. Given

this need and working with wife, Cindy Card, the Plaintiff offered Mrs. Ella Card his home as a

place to stay.

18.       Mrs. Ella Card had lived with the Plaintiff for 11 years.

19.       Though out these past 11 years, Plaintiff and his wife Cindy Card worked tirelessly with

other victims of guardianship abuse.

20.       They have spent thousands of hours together on the phone with victims of guardianship

attempting to comfort, advise, and support their travel into this deep dark world of elder abuse,

human trafficking and slavery, under the guise of guardianship.

21.       Plaintiff has personally met with Senate staff relating Mrs. Ella Cards story and the hideous

incestuous nature of its perpetrators.

22.       Plaintiff has presented the Brooklyn Supreme Court’s sequence of constitutional rights

violations related to Mrs. Ella Card (carbon-copied in probate courts nation-wide) to General

Accounting Office.

23.       Plaintiffs’ have been significantly affected by this advent of guardianship. Because of the

contentious nature of the case these past 11 years, Plaintiff’s wife was required to remain

separated from Plaintiff in order to tend to property granted to her in an Irrevocable Trust and

Will of Mrs. Ella Card.
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 BRAZEN VIOLATION OF LAWS REQUIRED TO ESTABLISH GUARDIANSHIP
 § 81.11 MHL Hearing
       (a) A determination that the appointment of a guardian is necessary for a person alleged
         to be incapacitated shall be made only after a hearing.
         VIOLATED: Performed in ex parte hearing March 16, 2011 BEFORE the April 26 hearing appointing guardian
         VIOLATED: Performed in ex parte hearing July 21, 2020 appointing successor co-guardians
 § 81.12 MHL Burden and quantum of proof
        (a) A determination that a person is incapacitated under the provisions of this article must
        be based on clear and convincing evidence. The burden of proof shall be on the petitioner.
        VIOLATED: Court appointed attorney stipulate to the court that Mrs Ella Card did no need a guardian
        VIOLATED: Judge Betsy Barros in chambers told Mrs Ella Card; “You may not be incapacitated now, but before you
        leave this courtroom I will make you incapacitated.
        VIOLATED: Knowing of 7 medical evaluations over a period of 9 years showing Mrs Ella Card was not incapacitated,
        Judge Ruchlesman continued the incapacitated ruling in the July 21, 2020 hearing.
 § 81.20 Duties of guardian
           (a)4. a guardian shall file an initial and annual reports in accordance with sections 81.30 and 81.31 of this article;
           VIOLATED: No initial or annual reports have been filed and as further required, sent to Mrs. Ella Card
           (a)\6)iii). a guardian determine whether the incapacitated person has executed a will, determine the location of any
           will, and the appropriate persons to be notified in the event of the death of the incapacitated person and, in the event of
           the death of the incapacitated person, notify those persons;
           VIOLATED: Defendants continue to allege Mrs. Ella Card has no will when in fact the will was read in open court in
           the April 21, 2011 hearing at which the Defendants, Raymond and Kermit Card were present.
 § 81.34 Decree on fining instruments approving accounts
           (a) Upon the death of the incapacitated person, the guardian is authorized to pay the funeral expenses of the
           incapacitated person and, in the absence of a duly appointed personal representative of the estate, pay estimated estate
           and income tax charges, as well as other charges of emergent nature.
           VIOLATED: Petitions paid for all funeral costs and have yet to be reimbursed by illegal co-guardians

VIOLATION OF LAWS REQUIRED TO TERMINATE GUARDIANSHIP
 § 81.44 Proceedings upon the death of an incapacitated person
Mrs. Ella Card passed on February 16, 2022. None of the following have been performed by the
illegal co-guardians as required by law:
          •    Provide the judge with a copy of the incapacitated individual’s death certificate;
          •    Inform all other relevant parties of the death. Examples of parties who may need to be informed of an incapacitated
               adult’s death include the Social Security Administration, Veterans Administration, and Medicaid;
          •    Paying allowable outstanding bills for services rendered while the incapacitated adult was still living;
          •    Prepare a statement of death and providing it to the court examiner and the individual responsible for
               administering the estate of the deceased;
          •    Prepare statement of assets and serving it to the deceased individual’s personal representative or public
               administrator;
          •    Prepare a notice of claim and serving it to the deceased individual’s personal representative or public
               administrator;
          •    Transfer all property to the deceased individual’s public administrator or personal representative except for any
               property needed to satisfy known administrative fees and debts; and
          •    Complete all necessary steps to file a final account.

 24.          Because of the guardian’s failure to carry out their fiduciary responsibilities the Plaintiffs

 have been required to utilize their own resources to cover what the guardians failed to do. Over the

 course of 11 years, Plaintiff and his wife spent thousands of dollars per year on property insurance,

 maintenance, New York City Department of Building fines, wall and roof repairs.

 25.          This requirement was the result of an illegal guardianship placed on Mrs. Ella Card in 2011

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where-after the guardians failed to maintain the two Brooklyn, NY properties of Mrs. Ella Card

forcing Plaintiff and his wife Cindy to perform and finance the maintenance from their own

proceeds.

26.       Although Mrs. Ella Card’s monthly retirement income was between $7,000-$8,000, the

guardians (Vera Institute) forced her to live at poverty level from 2011 to 2017 with an “allowance”

of $1,000 per month for food clothing, housing, medicine, travel and miscellaneous necessities.

(EXHIBIT 6).

27.       Letters were written (EXHIBIT 7) by Mrs. Ella Card to the guardian notifying them of the

lack of heat and hot water in the properties. Guardians failed to address these concerns and as a

result, Mrs. Ella Card, was required to find refuge in Plaintiff’s Maryland home leaving Cindy Card

in Brooklyn to tend to the two properties.

28.       Although letters were written, notifying the guardian of the properties need for repair, the

guardians failed to provide those funds resulting in accumulation of fines from the City of New

York. (EXHIBIT 8)

29.       The guardians were given at least $80,000 (EXHIBIT 9) from the court to make repairs to

the Brooklyn homes but they never made the repairs. In the stead, they retained the money and

refused to show financial accounting to Mrs. Ella Card as required by law for the years 2017, 2019-

2021.

30.       The guardians marshalled Mrs. Ella Card’s Social Security, keeping all the proceeds until,

in August of 2017, Mrs. Ella Card presented herself to the York County Social Security office who

determined she was of sound mind and body and immediately redirected her social security to her

account. The guardians then ceased to provide Mrs. Ella Card the $1,000 living “allowance”,

leaving her with only her monthly Social Security stipend to live on.

31.       This fiduciary malfeasance continued with the appointment in July of 2020 of illegal co-

guardians; sons Mrs. Ella Card had disowned in 2011.
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32.       On July 21, 2020, the Co- Guardians were appointed in a secret ex-parte hearing (EXHIBIT 10),

where Mrs. Card and the Plaintiffs were never notified by the Court of that hearing and her attorney

dropped out of the case, minutes before the hearing, and the estranged (disowned) sons of eleven years

were appointed, against Mrs. Card’ wishes. (EXHIBIT 11)

33.       Mrs. Card placed a cease and desist order against them. (EXHIBIT 12)

34.       They have a lifelong history of crack cocaine and alcohol abuse, with domestic violence, (to the

extent of attempted rape, putting a gun to their sister’s head demanding money for drugs) (EXHIBIT 13) and four

Bankruptcies, and do not qualify as Guardians under Article 81, Mental Hygiene laws. The Guardianship

program is to preserve Mrs. Card’s estate, not liquidate her estate which is contrary from Article 81

MHL. Article 81 MHL is to preserves estate and stop misappropriation.

35.       Under Article 81.32, since the Vera Institute and now the current guardians, Raymond and Kermit

Card failed to give an initial report and an annual accounting in 2020, they should be removed for failure

to file the annual accounting and inventory records.

36.       The illegal co-guardians continue to be negligent in not paying Ella Cards taxes (EXHIBIT 14)

on her homes at 155 Saratoga Ave and 161 Saratoga Ave; The failed to pay for insurance on the homes and

failed to pay the electric bills for both homes (EXHIBIT 15) when appointed as guardians resulting in

receipt of an electric turn-off-notices effective September 30, 2021. The illegal co-guardians have never

had a surety bond.

37.       On October 2, 2021, we received our electric bill for 155 Saratoga Ave in the mail, which has

not been paid for over 8 months for a total of $2,305.36, which was supposed to be disconnected on

September 30, 2021. (EXHIBIT 16)

38.       Cindy Card had to address each and every deficiency , financing the derelict co-guardians

lack of care and maintenance of the properties using her own resources to do so. The illegal co-

guardians failed to perform any of their fiduciary duties.

39.       Plaintiff and his wife, Cindy Card were required to financially subsidize, as a partial attempt,
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to provide for the quality-of-life Mrs. Ella Card was used to living and had planned for in retirement

that the guardianship had deprived her of living

40.       In general, the appointment of the illegal co-guardians was performed in a July 21, 2020 ex

parte hearing Then, three days after Judge Ruchlesman of the Brooklyn Supreme Court in Brooklyn NY

was served the Federal removal (September 30, 2021), he signed an order requiring sale of both Ella

Cards Brooklyn, NY properties. (EXHIBIT 17)

41.       The illegal co-guardians’ efforts, since their appointment, has been, in concert with Julie

Fernandez’s direction, to expedite the pilfering of Mrs. Ella Cards estate with a piercing focus to

sell the two properties which are both Willed by Mrs. Ella Card to Cindy Card.

42.       Julie Fernandez has even gone so far as to pose as Ella Cards attorney (EXHIBIT 18) joining

attorney Paul O’Brien, Raymond and Kermit Card and attorney John Holt to enter into the Brooklyn

Supreme Court a joint stipulation (EXHIBIT 19) stating only they are permitted to e-file anything

in the court related to the Guardianship of Ella Card.

43.       Paul O’Brien was retained by Ella Card on January 8, 2020 to represent her interests at the

July 21, 2020 hearing.

44.       Paul O’Brien did not inform Ella Card or the any of the Plaintiffs there was a hearing; that

he planned to attend the hearing, which he did; that he withdrew his representation before the

hearing commenced; (EXHIBIT 20-Page 2) or the results of the hearing.

45.       Plaintiffs filed a complaint with the Attorney Grievance Committee of New York against

Paul O’Brien. (EXHIBIT 21)

                                             CURRENT STATE

46.       In the March 21, 2022 hearing before the Orphans Court of York County, the lower court

denied Plaintiff, Kenneth Swenson, an attorney of his choice even though Plaintiff had hired an

attorney, the attorney is a current and practicing member of the Pennsylvania bar, was in the court

room seated across from opposing counsel and facing the bench from where Judge Vedder presided.
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47.       Without the “presence” of an attorney, Judge Vedder pummeled Plaintiff with questions

derived from unsubstantiated and scurrilous allegations, constructed in a regurgitated Petition

(EXHIBIT 22) submitted to the York County Orphans Court by Erik D Spurlin as fed to him by

Julie Fernandez, New York counsel.

48.       These allegations put before the court by Erik Spurlin were done so in spite of the ruling by

the New York Appellate court (EXHIBIT 23) two weeks earlier enjoining the illegal guardians and

their attorney from selling Mrs. Ella Card’s homes.

49.       In spite of the Pennsylvania Middle Court having jurisdiction over the case since July of

2021, Mr. Spurlin placed his petition before the Orphans Court of York County on February 11,

2022.

50.     The March 21, 2022 hearing which emanated from Mr. Spurlin’s February 11, 2022 Petition

was not necessary as the Brooklyn Supreme Court of New York, claiming jurisdiction in this case, had

given Mrs. Ella Card as a possession (guardianship over her person) to her illegal co-guardians and

disowned sons on February 8, 2022. (EXHIBIT 24). Judge Ruchlesman ordered guardianship of the

person without a hearing or jurisdiction.

51.     The only way for Pennsylvania to properly obtain jurisdiction over her property or person is by

way of an Article 83-(83.01-83.45) with a “Transitional Provision”. This also entails notification to ALL

parties and an opportunity for anyone who did not agree to object to the transfer. These actions were

never completed raising further doubt as to even proper jurisdiction as assumed by York County’s

Orphans Court and validity of Judge Vedder’s March 21, 2022 order.

52.       Judge Vedder forced Plaintiff Kenneth Swenson to testify at the March 21, 2022 hearing.

When answers from the Plaintiff did no square with what the Judge had been led to believe from

opposing counsel and chamber sessions, the Judge on several occasions, turned to the Plaintiff, red-

faced, stating “I will give you another chance to answer my question” clearly insinuating Plaintiff

was lying, only to create a prejudicial courtroom atmosphere.
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53.       Judge Vedder entertained additional allegations presented by Julie Fernandez, a New York

attorney who had neither license to practice Pennsylvania law nor was she invited by pro hoc vise.

54.       Not once, did the Judge request evidence be presented to substantiate allegations made in

the February 11 2022 Petition. The Judge conveniently relied on collegial hearsay and opinions

from opposing counsel.

55.     During the questioning Judge Vedder asked if opposing counsel had any questions to-wit

both Erik D Spurlin and Brandy G Hoke responded with a line of questions while Plaintiff’s counsel

was ordered to remain silent during the entire proceeding.

56.     Please take notice that in the February 11, 2022 Petition paragraph number 28 (EXHIBIT 25)

a request for appointment of a guardian ad litem is requested. Questioning parties posed no questions

to Plaintiff regarding Mrs. Ella Card’s physical or mental health.

57.     When a guardian is to be appointed in Pennsylvania medical proof is required. (20 Pa.C.S. §

5512.1(a).)

58.     The court, nor any one present in the courtroom introduced themselves as an expert qualified

to ascertain or “…establish the nature and extent of the alleged incapacities and disabilities…” of

Mrs. Ella Card’s “…mental, emotional and physical condition, adaptive behavior and social skills

capacity” had she been present.

59.     The court made no attempt to acquire medical or psychiatric experts as required by Pennsylvania

law to determine capacity at the Hearing. There was no medical Dr or expert present; no reference to a

psychiatrist or even insinuation there was to be an evaluation performed on Ella Card.

60.     The court never asked for evidence from the Plaintiff that shows that Ella Card had been evaluated

by Doctors or Psychiatric specialist who determined her capacity. This is a requirement of Pennsylvania

law and if it were truly the intent of the hearing to determine Ella Cards capacity, as stated in the Petition,

there would have been an expert present as required by law.

61.     No expert witness was present or was introduced during the March 21, 2022 hearing. This fact
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sheds clear doubt that intent of the hearing was to determine if Mrs. Ella Card was in-fact “incapacitated”

but rather to use the March 21, 2022 court proceeding as a platform to further advance a false narrative

initiated by Julie Fernandez, regurgitated by Erik Spurlin, bought into by Brandy G Hoke, orchestrated

and acted upon by Judge Vedder.

62.     Plaintiff has 7 evaluations performed by MDs with both medical and psychiatric expertise

attesting to the mental acuity of Mrs. Ella Card over these 12 years that at the least, Julie Fernandez is

aware of. As an officer of the court, Julie Fernandez, if there were to be unbiased evaluation to have been

addressed during the hearing, should have presented or in the least acknowledged their existence. In the

stead, the line of questioning was all about Mrs. Ella Card’s estate. (42 U.S.C. § 1986)

63.     The February 11, 2022 Petition contained false and misleading information which was presented

to the court as fact, stating, among other things, that:

                “Those who would be entitled to Ella's estate if she died intestate in the
                Commonwealth of Pennsylvania are her four children, namely: Kermit Card,
                Raymond Card, LaDonna Card, and Cindy Card”


64.     Mrs. Ella Card has a Will.

65.     Mrs. Ella Card’s Will was read in open court in the April 2011 “capacity” hearing conducted by

the Brooklyn Supreme court. This is a matter of record to which Julie Fernandez has access and her

clients, Raymond and Kermit Card know of the Will as they were present at the April 2011 hearing.

66.     Kermit Card clearly knew about the Will; going so far as to say that “…it was better that the State

take it all, than give it to Cindy”. (EXHIBIT 26)

67.     On August 14, 2018, Mrs. Ella Card had executed a durable power of attorney (EXHIBIT 27)

appointing Plaintiff and Plaintiff’s wife, Cindy Card, as Agents.

68.     This Power of Attorney coincided with a Psychiatric examination (EXHIBIT 28) performed in

person by a highly acclaimed Manhattan based Elder Psychiatrist, Dr. Kent Shinbach, M.D.

69.     Dr. Shinbach’s assessment, among other things, was that Mrs. Ella Card was

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         “…an alert, well-oriented woman, displaying intact memory, both recent and remote with no
        suggestion of confusion at any point.”

70.     Dr. Shinbach’s assessment concluded that Mrs. Ella Card,

         “…demonstrated fully intact mental capacity for the purpose of directing the maintenance and
        ultimate disposition of her estate in her own best interests.”

71.     It was the Plaintiff’s understanding that the Power of Attorney continued posthumously up and

until an Executor assumed full control of the estate.

72.     Given that understanding, Plaintiff filed a petition via Power of Attorney on behalf of Mrs. Ella

Card posthumously requesting the York County Orphans Court dismiss the February 11, 2022 Petition

For Hearing. This request was denied.

73.     Plaintiff also requested an Order To show Cause for an Emergency Injunction or a Temporary

Restraining Order against Julie Fernandez, Raymond and Kermit Card. This request was granted

enjoining Julie Fernandez, Raymond and Kermit Card from selling and transferring the properties of

Mrs. Ella Card.

We, the Plaintiffs, Kenneth Swenson, Cindy Card, and Ladonna Card, are requesting the United

States District Court, For the Middle District of Pennsylvania, to:

         Issue an injunction and temporary restraining order against

                               I.   ARGUMENT
                   REQUEST PRELIMINARY INJUNCTION OR TEMPORARY
                                RESTRAINING ORDER

74.     Appellant appeals all parts of the July 21, 2020 ex parte hearing (EXHIBIT 10) order signed

December 2, 2020 and dated December 8, 2020: AND the July 27, 2021 hearing conducted during an

effective Federal Removal from the state of Pennsylvania properly served on the court (order signed

September 30, 2021) (Exhibit 16) and the Order To Show Cause scheduling a January 28, 2022 hearing,

all under the Supreme Court Index Number 100016/2011: The first, appointing Ella Card's estranged

sons as co-guardians of whom she has cease and desist orders against (Exhibit 12); the second, requiring

sale of property and requesting Ella Card pay attorney fees; the third, requesting approval of the sale for
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both of Ella Card's Brooklyn, NY properties.

“GUARDIANSHIP” ENDED:

75.     The guardianship is over and ended on February 16, 2022 with Mrs. Ella Card’s passing

76.     Knowing the Defendants litigious nature, the Plaintiffs have no doubt that will continue

unless this court intervenes providing the Plaintiffs relief.

77.     Julie Fernandez, Raymond and Kermit Card are now required to inform the Executor,

Cindy Card, and courts of Mrs Ella Cards passing and commence with transferring the estate

and its records over to the rightful heir and Executor, Cindy Card.

78.     Defendants, in each and every motion referenced above and within this motion, have

been insistent on promulgating false, misleading and fabricated allegations against the

Plaintiffs and presenting these to the court.

79.     The February 11, 2022 Erik Spurlin presented a motion to the Pennsylvania court ((EXHIBIT

25) containing a series of allegations Julie Fernandez, Raymond and Kermit Card have been

presenting to the Brooklyn Supreme Court, and this court over the past 2 years.

80.     Petitioners, here and now, take the opportunity to address, WITH FACTS, every allegation made

in Erik Spurlin’s irresponsible, incomprehensible, allegation-laden petition:

       • ALLEGATION 1: “EIla Card ('Ella') was adjudicated an incapacitated person on March 16, 2011 by way of
         0rder issued by the Honorable Betsy Barros of the New Y0rk Supreme Court for Kings County (the 2011
         0rder").
       • FACT 1: Mrs Ella Card was not notified of the March 15, 2011 hearing. It was conducted ex parte.
         Because her due process rights were violated, the results of said hearing, and any ensuing hearing(s)
         resulting from that action are by law void ab initio. Maseda v. Honda Motor Co., Ltd., 861 F.2d 1248,
         1254-55 (11th Cir. 1988). The first time Mrs Ella Card was notified and stepped foot into Betsy Barros
         courtroom was April 21, 2011. Void judgment may be defined as one in which rendering court lacked
         subject matter jurisdiction, lacked personal jurisdiction or acted in manner inconsistent with due
         process of law Eckel v. MacNeal, 628 N.E. 2d 741 (Ill. App. Dist. 1993).

       • ALLEGATION 2: “Those who would be entitled to Ella's estate if she died intestate in the Commonwealth
         of Pennsylvania are her four children, namely: Kermit Card, Raymond Card, La0onna Card, and Cindy
         Card.”

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 • FACT 2: Ella Card has a Will. It excludes Raymond and Kermit Card from inheriting anything from Mrs.
   Ella Cards’ estate. The Will places Cindy Card in complete control of Ella Cards assets. The Will was
   read is open court during a April 2011 hearing conducted by Judge Betsy Barros of the Brooklyn
   Supreme Court, Brooklyn NY.

 • ALLEGATION 5: “The Guardianship Petition further alleged that guardianship was necessary despite
   the existence of a General Durable Power of Attorney that was allegedly executed by Ella appointing
   her daughter, Cindy Card. Cindy Card was alleged to have taken control of Ella's two residential rental
   properties without Ella's consent was collecting rent and using the same for her own purposes, and
   was sequestering her mother from family members.”
 • FACT 5: Cindy Card has lived at 161 Saratoga Ave, Brooklyn, NY for 34 years. She has also lived at 155
   Saratoga Ave, Brooklyn, NY for 18 years. Both properties were Willed to her by Mrs. Ella Card. In light
   of the illegal guardians, the Vera Institute (previous illegal guardians) and current illegal co-guardians
   Raymond and Kermit Card dereliction of duties as guardians, and their insatiable appetite to liquidate
   Mrs. Ella Card’s estate Cindy Card took responsibility to preserve the properties by making repairs,
   correcting violation, pay property taxes, insure both buildings, paid utilities and did everything she
   could to assure the properties were properly maintained. Mrs. Ella Card was fully apprised, and
   pleased that Cindy Card stepped in to preserve the properties. Mrs. Ella Card was so involved in the
   process that she chose the color Cindy should paint the buildings. At no time did Cindy Card ever rent
   out any property. In fact, it was Kermit Card who had entered into a fraudulent lease agreement with
   the tenants of 161 Saratoga Ave (one of the two properties in question) directing rent to be paid to
   himself. He presented himself as the owner of 161 Saratoga Ave entering into a 10-year lease
   agreement with said tenants. (EXHIBIT 29).
 • Erik Spurlin is accusing Cindy Card of Kidnapping, which is a serious Federal crime. Without his ability
   to prove such an allegation, he has opened himself and his firm up to a defamation of character
   lawsuit, as he has with these other unfounded allegations. Ella Card disowned her two sons Raymond
   and Kermit Card sending them both letters to that effect in 2011 stating she never wanted to see or
   hear from them ever again. Ella Card, on her own volition, left the United States for her home country
   of Belize in 2011 (she had dual citizenship in both) to preserve her dignity and life, taking refuge with
   her son in law, Ken Swenson, for the 11 years after returning to the US. There were numerus attempts
   by Julie Fernandez to “get Ella Card” (Julie Fernandez’s own words) sending local police and detectives
   to Ken Swenson’s home to investigate only to find that Ella Card was is good health and sound mind
   and not under any duress. Even after the Detective reported these findings to Julie Fernandez, she
   continued to harass Ella Card and family with further legal motions in both New York and
   Pennsylvania. This continued harassment compelled Ella Card to leave once again to Belize in February
   of 2022 where she passed due to a heart attack on 16 February 2022. Even in the March 29, 2011
   email (EXHIBIT 26) LaDonna Card, a Physician’s Assistant of 35 years, states “…my Spirit, that talks to
   my head daily, my God, & my fear for ma's safety, & possible death from all of this stress is why I
   cannot continue to be a part of this process.”

 • ALLEGATION 6: The 2011 0rder appointed VERA Guardianship Project (the Professional Guardian) to
   serve as Guardian of the Property for Ella, based on its finding that Ella is 'a person requiring he
   appointment 0f a Guardian as the Court has found that said incapacitated person is likely to suffer
   harm because of an inability to provide for property management and is unable to adequately
   understand and appreciate the nature of and consequences of such inability.”
 • FACT 6: This is completely and totally fraudulent, misleading, fabricated and unsupported statement.
   On March 16, 2011 Judge Barros deemed Mrs. Ella Card “Incapacited” before Ella Card even stepped
   foot in the courtroom. When Mrs. Ella Card entered the courtroom for the first time under Barros in
   April of 2011 Barros saw Mrs. Ella Card was not “Incapacitated” but saw her as a “cash cow”. During
   the April 21, 2021 hearing, court appointed counsel for Mrs. Ella Card stated several times, on record,
   that Mrs. Ella Card was not in need of a guardian. Mrs Ella Card took the stand, recited every asset she
   had, explaining every Directive she signed and without ambiguity, stated she did not need, desire, or
   ever want a guardian. In the chambers of Judge Betsy Barros, away from the court records, the judge

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  said to Ella Card, Cindy and LaDonna Card, “Ms. Card, you may not be incapacitated now, but before
  you leave this court room I will make you incapacitated.” In the transcript obtained from this 2011
  hearing, even the court appointed attorney proclaimed that Mrs. Ella Card was not incapacitated and
  did not require a guardian. The judge ignored this proclamation and ordered the guardianship non-
  the-less. The Judge made a life-changing decision for an elderly black woman based on personal
  preference, rather than findings of fact. During the 11 years, leading up to Mrs. Ella Card’s passing,
  medical doctor and psychiatric evaluations supported the court appointed guardians’ proclamation in
  2011.

 • ALLEGATION 7: “As part of its decision, the Court found that Ella is extremely susceptible to undue
   influence" and that Ella's estate was being rapidly diminished by Cindy Card, who persuaded Ella to
   execute a trust while in a mentally compromised condition, which trust effectively disinherits all other
   family members other than Cindy Card. The Courts decision also noted that Cindy Card, who testified
   in opposition to the appointment of a guardian but was found not to be credible, was maintaining a
   cat sanctuary in Ella's residential buildings with over thirty cats in two apartments.”
 • FACT 7: The reason why Ella Card made this decision is because Kermit Card, even after Ella Card
   revoked his power of attorney, (EXHIBIT 33), and informed Kermit to stop using the revoked POA
   EXHIBIT 33A). Kermit then colluded with his attorney, Bonnie Bernstein to file an irrevocable trust
   (EXHIBIT 33B) giving her whole estate to Raymond, Kermit and LaDonna Card, to the exclusion of Cindy
   Card. Cindy Card never “rapidly diminished” Ella Cards estate as Mrs. Ella Card contributed to Cindy
   Card’s 501C3 animal sanctuary. Mrs. Ella Card was given receipts for her contributions and a tax write-
   off. (EXHIBIT 34) Mrs. Ella Card and Cindy both testified to this and submitted receipts to the court.
   Kermit Card lied to Justice Barros stating that Mrs. Ella Card told him that Cindy was “unlawfully” using
   her credit card. This was impossible as Mrs. Ella Card was no longer speaking to Kermit Card. This
   information was presented to Justice Barros who completely ignored these facts. In fact, it was Kermit
   Card who closed Mrs. Ella Card’s bank account, moved trusts, and caused Mrs. Ella Card to take the
   rest of her money out of her estate. Kermit Card’s third wife, Wichita, called Mrs. Ella Card exposing
   this information. It was approximately 4 months after Kermit stole Mrs. Ella Card’s money with a
   revoked POA, that Mrs. Ella Card found herself in the Brooklyn Supreme Court fighting a guardianship
   proceeding. Mrs. Ella Card was never mentally compromised and there is no medical proof of such a
   finding. On the contrary, the medical examinations performed by a medical doctor in 2011 and 2012
   after Mrs. Ella Card was deemed “incapacitated” proves otherwise. (EXHIBIT 35). Barros simply had to
   say these things to cover her own crime as the trust was a threat to her ex parte decision made on
   March 16, 2011 before Mrs. Ella Card and Cindy Card ever stepped foot in the Brooklyn Supreme
   court. She had to vilify and demonize Mrs. Ella Card and Cindy Card because it was the only way to
   justify her ex parte decision. She removed Cindy’s, Ella Cards and LaDonna Cards attorney whom they
   hired to represent them. She violated LaDonna, Cindy and Ella Cards civil rights by removing their
   attorney of choice questioning them without an attorney, just like Clyde Vedder did to Kenneth
   Swenson. She then doctored up court transcripts by changing the actual testimony and then sealed
   the court documents that have been sealed to this point. Barros continued to practice medicine
   without a license and demand Mrs. Ella Card have a permanent guardian, all with the intention of
   draining her estate so that there would be nothing left for Cindy Card. We find it extremely interesting
   that only on paper, December 14, 2011, 8 months after the final hearing of April 26, 2011, that she
   then deemed Mrs. Ella Card incapacitated after her office informed here that a newspaper article was
   coming out exposing her crimes. (EXHIBIT 4).

  Please take note of the Washington Examiner article. It was published December 20, 2011. Mrs. Ella Card
  and Cindy Card were interviewed by the Washington Examiner on December 13, 2011. The Vera Institute
  attorney, Karen Goldstein, was also notified to give her side of the story. She also notified Barros that the
  article was coming out on the same day. Instead of Barros responding to the article, and giving her side of
  the story, December 14, 2011 Barros deemed Mrs. Ella Card “incapacitated”, taking possession of her
  property only-not her person and property. Mrs. Ella Card was at this time no longer a resident of New


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  York. If Mrs. Ella Card was truly mentally compromised, if Cindy Card was truly draining her estate, if she
  was susceptible to undue influence by Cindy Card, what sane judge, what judge who truly believed what
  she had written would ever let go of an incapacitated person, but yet retain her property. Raymond and
  Kermit Card were present in the courtroom when Mrs. Ella And Cindy Card testified in April of 2011. Mrs.
  Ella Card and Cindy Card refuted every allegation; presented clear and convincing evidence to the point
  where their attorney Bonnie Bernstein attempted to make a settlement. Mrs. Ella Card knew she was not
  incapacitated and that her daughter had done nothing wrong. According to Social Security Administration,
  Justice Barros deemed Mrs. Ella Card incapacitated before she or Cindy Card even stepped foot in the
  courtroom. (EXHIBIT 36). She went so far as to stipulate in the Social Security document: 1.) Mrs. Ella
  Card lived alone: She did not live alone, she lived with her granddaughter Faith Card. 2.) Had no relatives
  or close friends who live with or are interested in being her representative payee: This is been refuted
  already. 3.) Does not owe Vera any money and we do not expect her to in the future: Vera took thousands
  of dollars from Ella Card’s estate over the years.

  Further Note: A "void judgment" grounds no rights, forms no defense to actions taken there under, and is
  vulnerable to any manner of collateral attack. No statute of limitations or repose runs on its holdings, the
  matters thought to be settled are not res judicata, and years later, any disgruntled litigant may reopen the
  old wound and once more probe its depths. And it is then as though trial and adjudication had never
  been.” 10/13/58 FRITTS v. KRUGH. SUPREME COURT OF MICHIGAN, 92 N.W.2d 604, 354 Mich. 97. On
  certiorari this Court may not review questions of fact. Brown v. Blanchard, 39 Mich 790. It is not at liberty
  to determine disputed facts (Hyde v. Nelson, 11 Mich 353), nor to review the weight of the evidence. Linn
  v. Roberts, 15 Mich 443; Lynch v. People, 16 Mich 472. Certiorari is an appropriate remedy to get rid of a
  void judgment, one which there is no evidence to sustain. Lake Shore & Michigan Southern Railway Co. v.
  Hunt, 39 Mich 469.

  Erik Spulin knew that this, and these other allegations were untrue or in the least should have performed
  perfunctory research of such a list of nearly unbelievable accusations that taken together make no logical
  sense.

 • ALLEGATION 10: Petitioners have no information as to whether Ella's disappearance from her home
   and failure to communicate with Petitioners is voluntary, or whether Ella even has the capacity to
   make decisions of that nature, let alone to understand and appreciate the length of her estrangement
   from many members of her family.
 • FACT 10: If Erik Spurling actually believed this to be the case, he, and his clients clearly perjured
   themselves because he just placed before the court the accusation that “Cindy Card sequestered Ella
   Card keeping her from her family…” The logic here can be only explained as circulus in probando, non-
   sensical and in the least, foolish. There were numerus attempts by Julie Fernandez to “get Ella Card”
   (Julie Fernandez’s own words) sending local police and detectives to Ken Swenson’s home to
   investigate only to find that Ella Card was is good health and sound mind and not under any duress.
   The results of these investigations were reported to Julie Fernandez by the investigating Detective
   from Penn Township police department, Detective Eric Zumbrum. Additionally, Ms. Fernandez has
   been served several petitions by the Plaintiffs with clear, incontrovertible reports from medical and
   psychiatric Doctors reporting that Mrs. Ella Card was of sound mind.

 • ALLEGATION 11: “After several years of attempting to access the real property interiors, maintain the
   properties and obtain information about the tenants in the two real properties owned by Ella, the
   Professional Guardian moved to be discharged from the case, admitting it could not adequately
   perform its duties in light of Cindy Card's interference.”
 • FACT 11: This a bold faced lie. The reason why Vera Institute removed themselves as guardians is
   because they were under investigation by Social Security. After Mrs Ella Card presented herself to
   Social Security in August of 2017, Social Security realized that Vera Institute was collecting checks for
   Mrs. Ella Card stating on their annual reports that she was living in New York. Social Security opened

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  an investigation sending a letter to the Veral Institute’s attorney John Holt, requiring Veral to return to
  Mrs. Ella Card all her Social Security from the inception of the guardianship since 2011 to August of
  2017. Instead of doing this, they rushed to remove themselves as guardians. In addition, the new Vera
  Institutes director, Kimberly George stated that Mrs. Ella Card never qualified to be her guardian
  because she was not indigent and that her estate was too much. (Exhibit 30) This is well established
  information, on the record in the Brooklyn Supreme Court, the Appellate Court and this honorable
  court. This is just another false, fallacious accusations to continue promoting the false narrative that
  Julie Fernandez enjoys touting. Once again, Erik Spurling, with Julie Fernandez and their clients,
  Raymond and Kermit Card joined in this chorus of lies. This activity is defamation of Plaintiffs’
  character. In fact, on several occasions, Vera’s property manager, and the Corcoran Group, sanctioned
  personnel (Julie Fernandez’ and Paul O’Brien favored real estate company chosen to sell Ella Cards
  property) entered the properties. The first announcing they carried a gun, destroying locks on the
  front and secondary doors and the second breaking into the property via the front basement entry
  destroying the metal fasteners and hinges secured by the entry’s concrete base.

 • ALLEGATION 11A: “Professional Guardian admitted that it was unable to determine Ella's whereabouts
   and that it was not collecting Ella's rental or Social Security income, which was instead intercepted by
   Cindy Card on multiple occasions, leading to a discontinuance of receipt of income.”
 • FACT 11A: Julie Fernandez stated that “I will get her!” referring to locating and securing Mrs. Ella
   Card’s person. Ella Card personally went to the York County Social Security Office in August of 2017
   where they determined she was competent to handle her own income and immediately redirect her
   income directly back to her. Vera and the co-guardians were well aware of this as Veral was
   immediately sent a letter requesting Vera repay all Ella Cards Social Security directly to her. Vera has
   to date failed to abide by Social Security’s directive. Social Security income is Federally protected
   income that is not susceptible to being marshalled by a guardian. Co-guardian, Raymond Card
   intercepted the March 2021 Social Security check for $1,615 and has yet to account for that money. It
   remains missing. Cindy Card had to replace the intercepted check from her own pocket so that Mrs.
   Ella Card could get life-sustaining medicine, food, shelter etc. for that month.

 • ALLEGATION 12: “No access has been gained to the buildings' interiors.”, See 11 above. In addition,
   the building is the subject of two Department of Building Violations and every effort to cure the
   conditions is undermined or thwarted by Cindy Card in conjunction with Kenneth Swenson and
   LaDonna Card.”
 • FACT 12: Vera and Ms. Fernandez are aware that individuals of their own broke into both of Mrs. Ella
   Card’s properties causing damage (EXHIBIT 31) that Cindy Card had to pocket the repairs for. Vera and
   the co-guardians not only failed to obtain property insurance on the two properties they failed to
   immediately address issues the DOB notified them of in a timely fashion. After letters sent by Mrs. Ella
   Card in 2011, requesting Vera address the fact there was neither heat nor hot water in the property,
   Vera ignored this request. Vera continued to ignore maintenance of the properties, allowing fines to
   mount with the DOB. Again, Cindy Card had to hire a contractor to repair the outside wall curing one
   fine. In December of 2019 the Supreme court ordered that Vera Institute provide $45,000 to a
   contractor to repair a portion of the wall. (This repair was estimated by a local contractor to cost
   $5,000) Six months later, Cindy Card repaired the wall at a cost of $11,500 for the entire wall repair
   from her own pocket after she discovered, on her own volition, that DOB fines were accumulating. (All
   DOB notices were addressed to Vera, not Cindy Card.) There is yet no accounting for that $45,000 Vera
   extracted from Ella Card’s marshalled funds. Cindy Card also had to contract in the amount of $6,900
   for repairing leaking water and a water main issue. DOB issued citation against an oil furnace that
   Kermit Card had removed in 2010 without providing proper notification to the city. These issues were
   all addressed at Cindy Cards own expense requiring hiring a private company to address DOB assuring
   all the repairs Cindy Card made to the properties, which neither Vera nor the illegal co-guardians
   addressed, were recorded and appropriately addressed with the DOB. Cindy Card addressed these
   maintenance issues only because of Vera’s and the illegal co-guardian’s negligence to properly execute
   their court ordered fiduciary responsibilities. There have been no efforts made by the co-guardians to

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     address any of the DOB issues. Their sole efforts have focused on attempting to sell the two properties
     and marshal funds from Mrs. Ella Cards estate.


 • ALLEGATION 13: “By 0rder entered December 02, 2020, the New York Supreme Court for Kings County
   appointed Kermit Card and Raymond Card, Petitioners herein, as Ella's Successor Co-Guardians of the
   Property (the 2020 0rder replacing the Professional Guardian, VERA institute.”
 • FACT 13: They obtained their appointment by fraud. Judge Ruchlesman, Julie Fernandez, John Holt,
   Raymond and Kermit Card, colluded on June 22, 2020 with Julie Fernandez posing as Ella Cards court
   appointed attorney, Paul Obrien as the attorney Ella Card hired to represent her in removing Vera as
   guardians making sure that the case was e-filed giving Mrs Card and family no access to the court and
   one month later having a hearing on July 21, 2020 without Mrs. Card or family even knowing that the
   hearing was taking place. This constitutes eliciting a void court order due to fraud on the court and
   lack of service including a violation of due process for Mrs Ella Card and family. Having obtained the
   guardianship in this fashion voids all orders relative to that instance thereafter. The guardianship of
   New York from its inception in 2011 was conducted under fraud and all ensuing orders generated from
   that order (including any generated from this lower court)are void ab initio. Maseda v. Honda Motor
   Co., Ltd., 861 F.2d 1248, 1254-55 (11th Cir. 1988) (internal citation omitted); see DB50 2007-1 Tr. v.
   Dixon, 723 S.E.2d 495, 496 (Ga. Ct. App. 2012)

 • ALLEGATION 14: “The New York Court mindful that Ella is believed to be held outside of the State of
   New York and possibly without knowledge or consent.”
 • FACT 14: This is a wholly illogical statement showing the Defendants are grasping at straws.
   Defendants were present in the Orphans court one year earlier regarding a protective order hearing
   held in the Orphans court. Kenneth Swenson and LaDonna Card attended the hearing although Mrs.
   Ella Card did not attend due to COVID restrictions for elderly Pennsylvania citizens. Additionally, Julie
   Fernandez was explicitly informed by the Penn Township Detective, Eric Zumbrum after visiting
   Kenneth Swenson’s home, at Julie Fernandez’s request, where Mrs. Ella Card resided, that Ella Card
   was in good psychical and mental health and not being held against her will or under any duress. Julie
   Fernandez has intentionally withheld that information from the court to advance a derogatory and
   negative picture of Cindy Card, LaDonna Card and Kenneth Swenson and so she could continue to
   pilfer Mrs. Ella Cards estate which eventually lead to the death of Mrs. Ella Card.

 • ALLEGATION 15: ”Much like the Professional Guardian that preceded them, the Petitioners have been
   unable to discharge their duties as guardians because of Cindy Cards interference. As a result of such
   interference, Petitioners have been unable to communicate with their mother in any way, leaving
   them unable to take into account her preferences where appropriate and unable to verify her health
   and safety.”
 • FACT 15: As illegal co-guardians, Raymond and Kermit Card’s only activities has been to solely focus on
   extracting monies, marshalling assets, and filing frivolous law suits against of Mrs Ella Card and the
   Plaintiffs’. They have not submitted initial accounting, nor annual accounting as required by law. They
   made no attempt to contact Mrs Ella Card at ANY time during their appointment because they knew
   she had disowned them in 2011, sought protective orders against them in 2020 and had cease and
   desist orders taken out against them and filed with the local police precincts and Hanover police
   station. (EXHIBIT 32) They have failed to pay the taxes, insurance, general maintenance, water, or gas
   on both properties. They have shown only disregard for Mrs. Ella Cards preferences health or safety.
   Given their history of financial, emotional and likely sexual abuse of Mrs. Ella Card, (EXHIBITS 11, 12,
   13, 14, 25, 30, 32), Julie Fernandez’s insatiable desire to exploit and abuse the person and estate of
   Mrs. Ella Card with full knowledge of supporting incontrovertible evidence supporting a position
   contrary to her desire to fund her law practice with Mrs Ella Card’s estate, it is beyond any reasonable
   expectation that they had any desire other than the further exploitation, in collusion with Julie
   Fernandez, Erik Spurlin to exploit and abuse Mrs. Ella Card and her estate.


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 • ALLEGATION 16: “The 2020 0rder specifically authorizes Petitioners to bring actions in other states to
   enforce the 2020 0rder, including access orders with police assistance.”
 • FACT 16: The 2020 order was obtained by fraud and is a void court order. Eckel v. MacNeal, 628
  N.E. 2d 741 (Ill. App. Dist. 1993).

 • ALLEGATION 17: “The 2020 Order has been registered in accordance with Section 5931of the PEF
   Code, a certified copy which remains on file with the York County Orphans Court at Docket No. 6721-
   1278.
 • FACT 17: The only way for this void order to have been registered in the York County Orphans Court
   was to transfer it via Article 83 which requires all parties to be informed and to provide an opportunity
   to object to the transfer. Mrs. Ella Card and the Plaintiff’s were never informed of this. Who gave
   permission to register this order?

 • ALLEGATION 18: “Section 5933(a) of the PEF Code provides that upon registration of a guardianship or
   protective order from another state, the guardian or conservator may exercise in this Commonwealth
   all power authorized in the order of appointment except as prohibited under the laws of this
   Commonwealth, including maintaining actions and proceedings in this Commonwealth'”
 • FACT 18: The guardianship of New York from its inception in 2011, as well as the 2020 hearing, were
   conducted under fraud and all ensuing orders generated from that order (including any generated
   from this lower court)are void ab initio. Maseda v. Honda Motor Co., Ltd., 861 F.2d 1248, 1254-55
   (11th Cir. 1988) (internal citation omitted); see DB50 2007-1 Tr. v. Dixon, 723 S.E.2d 495, 496 (Ga. Ct.
   App. 2012)

 • ALLEGATION 19: Section 5933{b} of the PEF Code provides that'[a] court of this Commonwealth may
   grant any relief available under this chapter and other law of this Commonwealth to enforce a
   registered order.'
 • FACT 19: The guardianship of New York from its inception in 2011 as well as the 2020 were conducted
   under fraud and all ensuing orders generated from that order (including any generated from this lower
   court) are void ab initio. A void judgment is one which, from its inception, is and forever continues to
   be absolutely null, without legal efficacy, ineffectual to bind the parties or to support a right, of no
   legal force and effect whatever, and incapable of enforcement in any manner or to any degree - Loyd
   v. Director, Dept. of Public Safety, 480 So. 2d 577 (Ala. Civ. App. 1985).

 • ALLEGATION 20: “Upon information and belief, Cindy Card and Kenneth Swenson, will vehemently
   oppose any request made by the Petitioners. ln fact, Cindy Card and Kenneth Swenson filed an
   unintelligible 72-page summons with the United States District Court for the Middle District 0f
   Pennsylvania on September 15, 2021, (EXHIBIT 38) alleging 23 causes of action and naming 17
   defendants including the two judges who issued the 2011 0rder and 2020 0rder. As such, there can be
   no doubt that those harboring Ella are fully aware of the 2011 0rder and the 2020 order and have
   been active in these proceedings thereby submitting to the New York Courts jurisdiction.”
 • FACT 20: It was Ella Card, LaDonna Card, Cindy Card and Kenneth Swenson who petitioned the Federal
   Court. Clearly Erik Spurling and company are ignorant to the fact that the Federal court does not
   entertain “Unintelligible” motions. Apparently, in his ignorance, he has not read the Federal motion
   but simply repeating Julie Fernandez’s banter. Plaintiffs vehemently oppose the request made by the
   (“Petitioners”) Defendants. The Plaintiffs (and Mrs. Ella Card’s) awareness of these orders have been
   great cause for concern for the Plaintiffs’ ongoing safety, health, and well-being. The orders were
   conceived by fraud. The orders, as acted upon by Defendants have caused nothing but turmoil,
   thousands of hours of heart-breaking counsel with guardianship victims within the United States and
   Europe suffering the same judicial mistreatment. The orders and the incompetent, illegal, and devious
   actors the orders sanctioned have created untold heart-ache, death, un-told emotional and financial
   costs; undermined any degree of confidence Plaintiffs had in the lower courts’ judiciary or justice by
   cause of reason or fact. The guardianship of New York Supreme court from its inception in 2011 and


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     2020 were conducted under fraud and all ensuing orders generated from that order (including any
     generated from this lower court) are void ab initio and those as part of those orders, officers of the
     court et al, who have contorted justice and the courtroom to be used as a platform to gain wealth are
     liable for the death of Mrs. Ella Card and the 12 years of agony and interference of Plaintiffs’ pursuit of
     happiness guaranteed under the United States Constitution. The 72 page summons can be found here
     on PACER.

   • ALLEGATION 21: The Federal Court proceeding referenced in Paragraph 20 above is meant to estop
     the New York Guardianship Court from permitting the sale of both of Ella's real properties, for which
     Co-Petitioners requested by necessity, because of the inability to control the finances and safe of the
     two properties. The petition to place the properties on the market was granted on September 30,
     2021, the request to approve a contract of sale for an all-cash deal on both prophecies was granted on
     January 28, 2022 The Federal Court granted no interim relief to Cindy Card et. al" and the claims
     against the Guardians in New York with respect to the sale of the real property will shortly be moot.
   • FACT 21: Defendant’s make this allegation with apparently the same hope of the court believing what
     might happen rather that what actually took place. The Federal Court, at the time of the writing, has
     not yet ordered a remand back to New York. If that ever happens, the Plaintiffs can only cause to
     reason a question as to why the York County Orphans Court entertained Erik Spurlin’s petition at all as
     transferring a guardianship to another state requires a permission of the originating state (New York)
     first, notice to all parties must be given and done so in accordance with Article 83.31 of the Mental
     Hygiene law. None of these activities took place. The March 21, 2022 hearing in York County Orphans
     Court was in conflict with appropriate judicial protocol and should be noted, along with any ensuing
     orders from that hearing as moot.

   • ALLEGATION 22: “Ella, Cindy Card, Kenneth Swenson, and La0onna Card have been given notice of all
     the above-mentioned proceedings in New York and have had an opportunity to be heard.”
   • FACT 22:
       a. The March 15, 2011 hearing appointing the Vera Institute of Justice as guardians was ex parte.
       b. The April 26, 2011 hearing conducted by the Brooklyn Supreme Court, Cindy Card, LaDonna
           Card and Mrs. Ella Cards testimony were summarily dismissed by the court and rewritten to suit
           the Judges’ wishes of proclaiming Mrs. Ella Card “incapacitated”, contrary to findings of fact.
       c. The July 21, 2020 hearing appointing the disowned sons as co-guardians was ex parte.
       d. The July 27, 2021 hearing for the sale of Mrs. Ella Cards properties was conducted in the
           Brooklyn Supreme court while jurisdiction remained in the Federal Court Middle District of
           Pennsylvania. Had Petitioners appeared, it would have been in violation of Federal jurisdiction
           and an indictment of their persons.
       e. The January 28, 2022 hearing resulting in order authorizing the sale of both Mrs. Ella Card’s
           properties was conducted in the Brooklyn Supreme court while jurisdiction remained in the
           Federal Court Middle District of Pennsylvania. Had Petitioners appeared, it would have been in
           violation of Federal jurisdiction and an indictment of their persons.

     FOOTNOTE: This judicial behavior prevailed in the March 21, 2022 hearing conducted by the York
     County Orphans court by Judge Clyde Vedder. Therein, while proclaiming Kenneth Swenson had no
     “standing”, he forced Kenneth Swenson to the stand to testify, not however first, proclaiming that
     Kenneth Swenson’s hired attorney, who was present in the courtroom, was sequestered and cannot
     represent, defend, counsel, speak in court, cross-examine, or present evidence on behalf of Kenneth
     Swenson.
KIDNAPPING and ELDER ABUSE
   • ALLEGATION 24: “Petitioners believe Ella is continuously subjected to misinformation and hysterical
     conjecture regarding the authority of the guardianship and of the character and ability of Ella's sons to
     serve guardians.”
   • FACT 24: Mrs. Ella Card disowned her sons. She wrote them off in 2011 and by choice, never spoke to


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   them again. When she heard they had taken over as co-guardians, the bad dream of 2011 court
   hearing of Betsy Barros, was re-lived but to a greater extent. Mrs. Ella Card consistently and adamantly
   rejected them as sons reiterating them as dangerous, thief’s, addicts and wife-beaters who she
   wanted nothing ever to do with again. They stole money from her, drew up irrevocable trust
   agreements (EXHIBIT 33) took out loans in her name, asked her to co-sign a car note, defaulting on the
   note forcing Mrs. Ella Card to pay the remaining balance of nearly $30,000 from her own accounts.
   LaDonna Card had to extract her from Kermit’s home when Mrs. Ella Card was “in the care” of Kermit
   Card in 2010 for fear of Kermit’s continual abuse of his mother. She was there 6 months held in
   Kermit’s home, against her will.
 • Mrs. Ella Card came home with vaginal bleeding stating that “she asked the Lord to help her forget
   what Kermit did.” There was clear evidence of sexual assault on Mrs. Ella Card that occurred whjle
   staying with Kermit. Julie Fernandez wants the court to believe that Mrs. Ella Card’s response to these
   atrocities is a hysterical response. The fact that Mrs. Ella Card was fully aware of the fact her 50 years
   of life’s earning were taken from her with a stroke of a pen held by a Judge who told her
   “..Guardianships are good.” constantly wore at her psyche, her self-esteem, her drive to live and her
   once love of America. Medical doctors’ reports from 2011 to 2018 have consistently determined that
   Mrs. Ella Card was of sound mind and body, who “…demonstrated fully intact mental capacity for the
   purpose of directing the maintenance and ultimate disposition of her estate in her own best
   interests.” These facts the courts fully ignored. Rather, the judges and officers of the court decided
   over the past 11 years to practice medicine without a license determining mental and physical
   capacity cloaked in the pretense of judicial immunity. In 1972 Mrs. Ella Card immigrated legally to the
   United States to realize the “American Dream”. During the 11 years embroiled in a fight to be free
   from the hades of guardianship, to live in retirement as she had planned, and fully aware that her
   livelihood and plans for those golden years were brutally, brazenly, savagely taken, finally took its toll.
   On 16 February 2022 Mrs. Ella Card passed in her beloved Belize, realizing only that the dream had
   turned to a nightmare.

 • ALLEGATION 25: “Cindy Cards reaction is in fact so hysterical to her bothers, that upon Ella being
   served by regular mail for the first time at the Hanover PA address in relation to Court activities in
   New York, Cindy Card and Kenneth Swenson filed for a protection from abuse order in Pennsylvania,
   alleging that the very act of sending mail to Ella constituted an abuse of Ella's person. The petition also
   defamed Kermit and Raymond Card, accusing them of being criminals drug abuse etc. without basis.
   The Petition was denied with prejudice at Docket No. 2020-FC-02523-12.”
 • FACT 25: Given the truth behind Raymond and Kermit Card’s financial, emotional and likely sexual
   abuse of Mrs. Ella Card, Cindy Card’s mother, one’s reasonable and naturally human response would
   be to protect a loved one through any conceivable legal means possible. In a recent example of
   deception attempted by the illegal disowned co-guardians was providing a debt collector an incorrect
   home address to avoid payment OF OVER $4,200. (EXHIBIT 37) It is this response to the atrocities and
   abuse committed against an elderly mother that Erik Spurlin and Julie Fernandez believe to be
   “hysterical”. The reaction was one solely of Mrs. Ella Cards response with Cindy Card, LaDonna Card
   being in full agreement. One of the human race could only conclude that the perspective Erik Spurlin
   and Julie Fernandez have of Cindy Card’ response is that their perspective is chosen ignorance at best;
   knowing the deviant nature of the illegal, disowned co-guardians, it is more honestly, sub-human.
   Cindy’s, as well as Mrs Ella Cards names are included in a referenced text supporting actual abuse, not
   referencing mail that was delivered to Mrs. Ella Cards PA address. The exaggerated hyperbole Erik
   Sprulin uses in this shameful allegation that is not even supported by court recorded documentation.

 • ALLEGATION 26: “Petitioners believe that Ella may be a victim of ·Stockholm Syndrome, a condition of
   reliance and dependence upon persons who sequester her and provide only misinformation to deter
   her from seeing or knowing any other members of her family and to maintain control of her income
   and assets.”
 • FACT 26:There were numerus attempts by Julie Fernandez to “get Ella Card” (Julie Fernandez’s own
   words) sending local police and detectives to Ken Swenson’s home to investigate only to find that Ella

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  Card was is good health and sound mind and not under any duress. Even after the Detectives reported
  these findings to Julie Fernandez, she continued to harass Ella Card and family with further legal
  motions in both New York and Pennsylvania. This continued harassment compelled Ella Card to leave
  once again to Belize in February of 2022 where she passed due to a heart attack on 16 February 2022.
  If these Petitioners were to be so bold as the officers of the court, namely Julie Fernandez and Erik
  Spurlin, to practice medicine without a license as they do, our assessment is that Julie Fernandez’s,
  Erik Spurling’s and Judge Vedder’s allowance of the constant harassment of Mrs. Ella Card for a period
  of these last 4 years directly resulted in Mrs. Ella Card’s death on February 16, 2022.

 • MEMORANDUM OF FACT 26: Facts in 26 are particularly compelling in that Erik Spurling’s Motion of
   February 11, 2022 and Judge Vedder’s Order of 22 February 2022 states: “Ella Card is specifically
   directed to attend said hearing. Police and ambulance personnel are hereby authorized to transport
   Ella Card to this and any future hearing in this matter, if they deem it necessary to ensure Ella's safety
   or the safety of others. The court is compelling an elderly widowed woman to see the sons she
   disowned over 11 years ago, who she ran from and never wanted to see or hear from again. (EXHIBIT
   11). These officers of the court, either by ignorance, or sheer vile contempt and disregard of an 83-
   year-old woman’s wishes, feelings, stated intent and age are compelling her to face people whom she
   has deemed evil, destructive and threatening. The officers of the court require county resources to
   enforce an order that forces Mrs. Ella Card to have individuals she fears, considers harmful and
   personally abhorrent, to be in her presence, not only a public setting but in a private setting at least 4
   times a year. This is not only elder abuse, but a terrorist act perpetuated by officers of the court. This
   is inhuman behavior.

 • ALLEGATION 28: “Petitioners also encourage the Court to assign a guardian monitor to this matter,
   such that an independent attorney may evaluate the case, provide the Court with additional
   information, and alert protective services if appropriate. ln addition or in the alternative, Petitioners
   respectfully request the appointment of a guardian ad litem for Ella to determine what is in her best
   interest and to assist in directing any litigation occurring within Pennsylvania.”
 • FACT 28: Adult protective services of York county were contacted by Kenneth Swenson in 2019 to
   inform them of the offenses caused on Mrs Ella Card by the guardianship. They came to Kenneth
   Swenson’s home, evaluated Ella Card and determined she was safe, not under duress, competent and
   appropriate. They also attempted to find an attorney who could assist Mrs. Ella Card, but because the
   state of Pennsylvania lacked jurisdiction and New York obtained her property, there was nothing they
   could have done. This allegation only exists in order to continue the false, misleading and fabricated
   narrative of Julie Fernandez, Erik Spurlin, Raymond and Kermit Card all entertained by Judge Vedder in
   order to further defamatory insults at the Petitioners, inflaming the reader, and furthering an
   unsubstantiated narrative so full of erroneous statements it takes 400 pages of a complaint containing
   incontrovertible facts to field them all. Julie Fernandez and Erik Spurlin should be dis-barred,
   Raymond and Kermit behind bars for elder abuse, and Judge Vedder reprimanded by the Judicial
   Complaint Board required to be removed from the bench for a minimum of a year and pay $200,000 in
   reparations to the Plaintiffs for judicial incompetency, emotional damage and suffering.

 • ALLEGATION 29: “Petitioners request that this Honorable Court schedule a hearing and demand the
   physical production of Ella, such that she can be questioned by the attorneys, the guardians, and/or
   the Court as a means of (i) determining her preferences as to the management of her estate, (ii)
   ensuring she is safe and not being held against her will, (iii) providing a mechanism for the guardians
   to meet with Ella four times per year in accordance with the existing guardianship 0rder, and (iv) to
   determine whether Ella wishes to and/or should be returned to the State of New York..”
 • FACT 29: The “demand” requested in this allegation smacks of rounding up Jews in Nazi German in
   1941. “Demanding the production” of a human being goes back to securing run-away slaves in pre-
   revolutionary war America; securing a criminal on FBI’s 10-most wanted list. In 2011 Mrs. Ella Card ran
   from the Brooklyn Supreme Court to save her own life knowing full well if she were “ensured safety”
   under the guardian’s watch, she would be dead in 3 years. When she heard the York County court was

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         willing to deploy state or municipal personnel to secure her presence in a room containing the illegal
         dis-owned co-guardians who committed hideous crimes against her person, property and well-being,
         she ran again to the safety of her beloved Belize where she passed of heart attack due to the 11 years
         of constant, un-relenting oppression wielded on her person by Julie Fernandez, Erik Spurlin, Raymond
         and Kermit Card and Judge Vedder’s orders. It was clear to Mrs Ella Card that no justice would be
         served up to her if she remained in the United States.

NOTE: We the Petitions and family of our beloved Ella Card, hold Judge Vedder, Julie Fernandez, Erik Spurlin,
Raymond and Kermit Card and others who had a part in this fraudulent guardianship personal responsible for
the death or our beloved mother, Ella Rubina Card.


 81.     These allegations are known to be without any merit by Julie Fernandez who went so far as to

 pose as Ella Card’s attorney to restrain Plaintiff’s from e-filing in the Brooklyn Supreme Court.

 (EXHIBIT 19)

 82.     MALICIOJUS PROSECUTION: The February 11, 2022 is a vexatious legal action brought

 solely to harass and or subdue the Plaintiffs. The parties, Erik Spurling, Julie Fernandez, Raymond Card

 and Kermit Card know them to be without merit yet continue; beginning in the Supreme Court of New

 York, now burdening the state of Pennsylvania in an unwarranted filing, promoted and entertained by

 officers of the court, as fact.

 83.     Knowing the Defendants litigious nature, the Plaintiffs have no doubt that will continue

 unless this court intervenes providing the Plaintiffs relief.

 84.     Julie Fernandez, Raymond and Kermit Card are now required to inform the Executor,

 Cindy Card, and courts of Mrs Ella Cards passing and commence with transferring the estate

 and its records over to the rightful heir and Executor, Cindy Card.

 85.     If this honorable court does not place an injunction and Temporary Restraining Order on Julie

 Fernadez,, Erik Spurlin, Raymond and Kermit Card there will be irreparable harm caused on the

 Plaintiffs with the insessant litigation, squandering of the estate and emotional pain and suffering

 Defendants have historically caused on the Plaintiffs and the now deceased Mrs. Ella Card.

 86.     Relative to the March 1, 2022 hearing and order Under 28 U.S.C.A. § 1446 (West 2015)


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(boldface omitted) (emphasis added). “Hence, after removal, the jurisdiction of the state court

absolutely ceases and the state court has a duty not to proceed\ any further in the case. Any

subsequent proceedings in state court on the case are void ab initio.” Maseda v. Honda Motor

Co., Ltd., 861 F.2d 1248, 1254-55 (11th Cir. 1988) (internal citation omitted); see DB50 2007-

1 Tr. v. Dixon, 723 S.E.2d 495, 496 (Ga. Ct. App. 2012) (“ ‘[A]ny proceedings in a state court

after removal of a case to federal court are null and void and must be vacated.’ ” (citation

omitted)).

87.     It is further noted that the removal is automatic upon filing and no lower court action is either

proper or of legal effect.

88.     28 USC§ 1446, states “Promptly after the filing of such notice of removal of a civil action the

defendant or defendants shall give written notice thereof to all adverse parties and shall file a copy

of the notice with the clerk of the court of such State Court, which shall effect the removal and the

State Court shall proceed no further unless and until the case is remanded." Vigil v. Mora

Independent Schools, 841 F. Supp. 2d 1238, 1240-41 (D.N.M. 2012)

89.     Plaintiffs demand jury trial in accordance with Seventh Amendment to the Constitution and Rule

38 of the Federal Rules of Civil Procedure.



ADDITIONALLY

We, the Plaintiffs, Kenneth Swenson, Cindy Card, and Ladonna Card, are requesting the United

States District Court, For the Middle District of Pennsylvania, to:

         Overturn the March 21, 2022 Order from the York County Orphans Court, with Prejudice

         and render it void on the following basis:




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                                   II.  ARGUMENT
                           DEPRIVATION OF CIVIL RIGHTS 18 USC § 242


90.     Under 18 U.S. Code § 242 - Deprivation of Rights, Kenneth Swenson has been deprived of his

rights under color of law. Under section 242 of Title 18 makes it a crime for a person acting under color

of any law to willfully deprive a person of a right or privilege protected by the Constitution or laws of

the United States.

91.     Judge Clyde Vedder of the lower court summarily deprived Kenneth Swenson of his right to

counsel whom he had hired, who was in the court room during the entire proceeding but ordered not to

defend Kenneth Swenson or even speak during the proceeding.

92.     The Lower court forced Kenneth Swenson to testify in open court without counsel without first

informing him of his rights.

93.     The lower court embroiled Cindy Card within the March 21, 2022 order knowing full well she is

a resident of the state of New York. Cindy Card was served through Kenneth Swenson at his Adams

County residence, not York County where the Orphans court resides. Cindy is not a resident of any

county in Pennsylvania, nor was she present in the courtroom.

94.     The lower court had no jurisdiction over Cindy Card or LaDonna Card as they are both life-time

resident of the State of New York, never residing in the state of Pennsylvania.

95.     For the purpose of Section 242, acts under "color of law" include acts not only done by federal,

state, or local officials within their lawful authority, but also acts done beyond the bounds of that official's

lawful authority if the acts are done while the official is purporting to or pretending to act in the

performance of his/her official duties. Persons acting under color of law within the meaning of this statute

include police officers, prisons guards and other law enforcement officials, as well as judges, care

providers in public health facilities, and others who are acting as public officials.

96.       Judge Vedder deprived the Plaintiffs’ rights under 18 USC § 242.

97.     Judge Vedder acted in a manner inconsistent with due process: Fed. Rules Civ. Proc., Rule
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60(b)(4), 28 U.S.C.A., U.S.C.A. Const. Amend. 5 - Klugh v. U.S., 620 F.Supp. 892 (D.S.C. 1985).

98.     Judge Vedder’s March 21, 2022 order is therefore void: A void judgment is one which, from its

inception, is and forever continues to be absolutely null, without legal efficacy, ineffectual to bind the

parties or to support a right, of no legal force and effect whatever, and incapable of enforcement in any

manner or to any degree - Loyd v. Director, Dept. of Public Safety, 480 So. 2d 577 (Ala. Civ. App. 1985).

In re Estate of Wells, 983 P.2d 279, (Kan. App. 1999).

99.     Plaintiffs demand jury trial in accordance with Seventh Amendment to the Constitution and Rule

38 of the Federal Rules of Civil Procedure.



                               III. ARGUMENT
           CIVIL ACTION FOR DEPRIVATION OF RIGHTS 42 U.S. CODE§ 1983


100.    Under 42 U.S. Code § 1983.Civil action for deprivation of rights. Kenneth Swenson and Cindy

Card have been deprived of their Civil Rights. Accordingly every person who, under color of any statute,

ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia, subjects,

or causes to be subjected, any citizen of the United States or other person within the jurisdiction thereof

to the deprivation of any rights, privileges, or immunities secured by the Constitution and laws, shall be

liable to the party injured in an action at law, suit in equity, or other proper proceeding for redress, except

that in any action brought against a judicial officer for an act or omission taken in such officer’s judicial

capacity, injunctive relief shall not be granted unless a declaratory decree was violated or declaratory

relief was unavailable. For the purposes of this section, any Act of Congress applicable exclusively to

the District of Columbia shall be considered to be a statute of the District of Columbia.

101.    The lower court summarily deprived Kenneth Swenson of his right to counsel whom he had hired,

who was in the court room during the entire proceeding but ordered not to defend Kenneth Swenson or

even speak during the proceeding.

102.    The Lower court forced Kenneth Swenson to testify in open court without counsel without first

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informing him of his rights.

103.   The lower court embroiled Cindy Card within the March 21, 2022 order knowing full well she is

a resident of the state of New York. Kenneth Swenson was given notice at his Adams County residence,

for Cindy Card to appear in court. She was neither properly served, nor is she a resident of any county

in Pennsylvania. She was neither present in the courtroom.

104.   The lower court had no jurisdiction over Cindy Card or LaDonna Card as they are both life-time

resident of the State of New York, never residing in the state of Pennsylvania.

105.   Judge Vedder violated deprived the Plaintiffs of their constitutional rights pursuant to 42 U.S.

CODE§ 1983.

106.   Judge Vedder’s March 21, 2022 order is void as it was derived from the courts acting in a

manner inconsistent with due process. Void judgment is one rendered by court which lacked

personal or subject matter jurisdiction or acted in manner inconsistent with due process, U.S.C.A.

Const. Amends. 5, 14 Matter of Marriage of Hampshire, 869 P.2d 58 ( Kan. 1997).

107.   Plaintiffs demand jury trial in accordance with Seventh Amendment to the Constitution and Rule

38 of the Federal Rules of Civil Procedure.



                           IV. ARGUMENT
         CONSPIRACY TO INTERFERE WITH CIVIL RIGHTS 42 USC § 1985

108.   Kenneth Swenson was intentionally denied his civil rights by the Defendants. Kenneth

Swenson was personally hand delivered a notice at his Adams County residence requiring his

appearance in the York County Orphans Court on March 21, 2022. After conforming to the

summons and appearing in court as requested, with his attorney Joanna Toft, the Defendants and Ms.

Toft removed themselves from the courtroom in an on-camera session. The demeanor of the judge

and courtroom changed dramatically once they returned. Plaintiff was told he now, after being

summoned to the court, after having filed a motion to dismiss, naming himself and Cindy Card as

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parties to the action, and that the Orphans court ruled on that motion by dismissing it, was told he

had “no standing”. He was also told the even though he had no standing he would be required to

testify.

109.   Under 42 U.S. Code § 1985.Conspiracy to interfere with civil rights. Where if two or more

persons in any State or Territory conspire or go in disguise on the highway or on the premises of

another, for the purpose of depriving, either directly or indirectly, any person or class of persons of

the equal protection of the laws, or of equal privileges and immunities under the laws; or for the

purpose of preventing or hindering the constituted authorities of any State or Territory from giving

or securing to all persons within such State or Territory the equal protection of the laws.

110.   Judge Vedder entertained all the Defendants in an out-of-court room setting returning only

to summarily extract Plaintiff’s rights to an attorney, right to not self-incriminate, tossing machine-

gun style, demonstrative accusations, in an intimidating demeanor from a position of judicial

authority; abusing his position as a sitting judge to promote a narrative contrived in Erik Spurling’s

petition, scribed by Julie Fernandez, adopted by Brandy Hoke and further promoted in a hidden

back room of the court by the Defendants in order to further demonize the Plaintiff.

111.   It is alleged that Judge Vedder allowed this knowing full well that if he could extract Plaintiffs

attorney from the judicial equation, position himself and the Defendants where Plaintiff’s attorney

could not speak, not cross examine, not admit evidence, not in any way defend the Plaintiff with

incontrovertible evidence that would contradict the contrived accusations scribed by Attorney

Spurlin from Julie Fernandez’s New York office, that he and the Defendants would have free reign

to promote a narrative elevating and justifying their criminal intent to further plunder Ella Card’s

estate, RE: Erik D Spurlin’s February 11, 2022 Petition.

112.   The Erik D Spurlin’s February 11, 2022 Petition is sheer allegations. Judge Vedder is required

by the Pennsylvania Code of Judicial Conduct to be

           “…unsawed by partisan interests, public clamor, or fear of criticism. To be
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        “…dignified, and courteous to litigants, jurors, witnesses, lawyers, and others with
        whom they deal in their official capacity.” He is also required to “The duty to hear all
        proceedings fairly and with patience is not inconsistent with the duty to dispose promptly
        of the business of the court.”
113.   Plaintiff was further subjected to a conspiratorial environment during the hearing conducted

on March 21, 2022.

114.   The court, nor any one present in the courtroom introduced themselves as an expert qualified

to ascertain or “…establish the nature and extent of the alleged incapacities and disabilities…” of

Mrs. Ella Card’s “…mental, emotional and physical condition, adaptive behavior and social skills

capacity” had she been present.

115.   In the February 11, 2022 Petition paragraph number 28 a request for appointment of a

guardian ad litem is requested.

116.   When a guardian is to be appointed in Pennsylvania medical proof is required. (20 Pa.C.S. §

5512.1(a).)

117.   The court made no attempt to acquire medial or psychiatric experts as required by Pennsylvania

law to determine capacity at the Hearing. There was no medical Dr or expert present; no reference to a

psychiatrist or even insinuation there was to be an evaluation performed on Ella Card.

118.   The court never asked for evidence from the Plaintiff that shows that Ella Card had been evaluated

by Doctors or Psychiatric specialist who determined her capacity.

119.   Although Julie Fernandez, Raymond Card and Kermit Card are fully aware that these evaluations

exist, would be invaluable to the instance before the court, they intentionally omitted that information.

20 Pa.C.S. § 5512.1(a) states very clearly that when a guardian is to be appointed in Pennsylvania

medical proof is required.

120.   Had the Orphans court exercised any degree of independent thought outside the convenience of

collegial hearsay, they would have discovered that Ella Card had 7 psychiatric evaluations, two of which

were performed by renowned geriatric psychiatrist over the past 12 years. These medical evaluation


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clearly articulated her mental acuity and judgmental competency.

121.   The effort required to exercise this discovery did not sit well with the Defendants as it would force

the court to demonstrate a semblance of judicial prudence they clearly had no interest in exercising either

prior to nor during the March 21, 2022 hearing.

122.   The March 21, 2022 hearing was allegedly set up as a single-minded march to further pilfer Ella

Card’s estate.

123.   Judge Vedder, Erik Spurlin, Julie Fernandez, Raymond Card, Kermit Card and Brandy Hoke

colluded to interfere with Plaintiffs civil rights.

124.   Plaintiffs demand jury trial in accordance with Seventh Amendment to the Constitution and Rule

38 of the Federal Rules of Civil Procedure




                                 V.  ARGUMENT
                       MANDATORY REMEDY FOR LACK OF JURISDICTION

125.   According to Lujan v. Defenders of Wildlife, 112 S. Ct. 2130, 2136 (1992) (Lujan), there

are three requirements for Article III standing:

            1. Injury in fact, which means an invasion of a legally protected interest that is (a)
       concrete and particularized, and (b) actual or imminent, not conjectural or hypothetical.
            2. A causal relationship between the injury and the challenged conduct, which
       means that the injury can be traced to the challenged action of the defendant and has not
       resulted from the independent action of some third party not before the court.
            3. A likelihood that the injury will be redressed by a favorable decision, which
       means the prospect of obtaining relief from the injury as a result of a favorable ruling is
       not too speculative.”


126. Plaintiff was hand-delivered a summons at his Adams County home address requiring

his presence at the March 21, 2022 hearing.

127. Plaintiff was named in Erik Spurlin’s February 11, 2022 Petition which was submitted

to the lower court where the hearing was to be conducted.


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128. Judge Vedder’s Scheduling Order, signed on 22 February 2022 had Erik Spurlin’s

Petition attached.

129. Judge Vedder’s line of questioning, demeanor, theatrical facial contortions and ex parte
out of court-room discussions with the officers of the court conveyed not only his failure to
execute any degree of adherence to Canon 1 of the Pennsylvania Code of Judicial Conduct, to
wit:
      “…uphold and promote the independence, integrity, and impartiality of the judiciary,
      and shall avoid impropriety and the appearance of impropriety”

 but also squared with his prejudicial and unconstitutional treatment of the Plaintiff Kenneth

 Swenson. Judge Vedder clearly demonstrated that his respect for the Supremacy of the United

 States Constitution took a back seat to what he determined to be the law as he would execute in the

 York County Orphans Court on March 21, 2022.

130.   Had the lower court taken any time to entertain evidence, outside of what they could extract during

a verbal pummeling session of the Plaintiff, orchestrated and encouraged by Judge Vedder, and that of a

salaciously palatable extricate of the Plaintiff’s alleged atrocities in his February 11, 2022 Petition, the

entire hearing would have, without further speculation, taken an impartial turn, focusing more on the

atrocities committed by the Defendants, rather that the Petition’s allegations purported as truth.

131.   The fact that the Plaintiff is now required to spend endless hours defending his name and personal

integrity preparing this petition to set before this court because the injury and his challenged conduct has

not resulted “…from the independent action of some third party not before the court…”, but in fact a

direct result of the action by the lower court.

132. As additional insult to the judiciary, Judge Vedder and the Defendants are directly responsible for

consuming the District Courts time by not adhering to the rule of law they all, as agents of the court,

have been sworn to uphold, that being the Constitutional rights of the Plaintiffs.

133.   Plaintiffs demand jury trial in accordance with Seventh Amendment to the Constitution and Rule

38 of the Federal Rules of Civil Procedure.


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                                 VI.   ARGUMENT
                      FEDERAL RULES OF CIVIL PROCEDURE RULE 60(b)(3)
                                 FRAUD ON THE COURT

134.   Fraud on the court involves willful conduct that is deceitful and obstructionist, which injects

misrepresentations and false information into the judicial process “so serious that it undermines ... the

integrity of the proceeding” (Baba–Ali v. State of New York, 19 N.Y.3d 627, 634, 951 N.Y.S.2d 94, 975

N.E.2d 475 [2012]. It strikes a discordant chord and threatens the integrity of the legal system as a whole,

constituting “a wrong against the institutions set up to protect and safeguard the public” (Hazel–Atlas

Glass Co. v. Hartford–Empire Co., 322 U.S. 238, 246, 64 S.Ct. 997, 88 L.Ed. 1250 [1944]; see also

Koschak v. Gates Constr. Corp., 225 A.D.2d 315, 316, 639 N.Y.S.2d 10 [1st Dept.1996] [“The

paramount concern of this Court is the preservation of the integrity of the judicial process”] ). The federal

courts have applied the clear and convincing standard in determining whether the offending party's

actions constitute fraud on the court (see e.g. *319 Aoude v. Mobil Oil Corp., 892 F.2d 1115, 1118 [1st

Cir.1989] ). Characteristic of federal cases finding such fraud is a systematic and pervasive scheme,

designed to undermine the judicial process and thwart the non-offending party's efforts to assert a claim

or defense by the offending party's repeated perjury or falsification of evidence (id. at 1118). Fraud on

the court warrants heavy sanctions, including the striking of an offending party's pleadings and dismissal

of the action.

135.   The March 21, 2022 hearing intent was to obtain a ruling of against Mrs. Ella Card by deeming

her “incapacitated” without the advent of advancing an expert witness.

136.   Kenneth Swenson and Cindy Card ended up being collateral damage in the March 21, 2022

hearing. Their livelihood, their family’s future as well as those that may follow with the lower courts’

mis-steps and trampling of a citizen’s rights constitutional and God given rights are in jeopardy if the

lower court’s ruling stands. Once civil and constitutional rights have been violated, the court and its


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agents have cleared the road to target them with continued false allegations, undermining their resources

with judicial proceedings, destroying their reputation with scurrilous petitions advanced by willing

puppets of the court and generally depriving them of the right to the liberties and pursuit of happiness

the constitution affords.

137.   It is the position of the Plaintiff’s, that the March 21, 2022 hearing was a rouse, a setup by Julie

Fernandez, Erik Spurlin, Ms. Hoke, orchestrated by Judge Vedder, to save face of the NY Court;

continue to pilfer Ella Card’s estate and via one-sided and exclusive collegial hearsay; eviscerate

constitutionally guaranteed rights of an American citizen without cause for convenience, and execute an

order against the Plaintiffs without judicial prudence and lack of subject matter jurisdiction.. This whole

case to date is a Product of Fraud on the Court and the ruling by Judge Vedder should be deemed void

ab initio.

138.   It is well understood, that Judges and prosecutors have absolute immunity unless they totally lack

subject-matter or personal jurisdiction in the case. A judge acting without subject-matter jurisdiction is

acting without judicial authority. Cohens v. Virginia, 19 U.S. (6 Wheat) 264, 404, 5 L.Ed 257 (1821) The

U.S. Supreme Court, in Scheuer v. Rhodes, 416 U.S. 232, 94 S.Ct. 1683, 1687 (1974) stated that:

         "when a state officer acts under a state law in a manner violative of the Federal
        Constitution”, he "comes into conflict with the superior authority of that Constitution, and
        he is in that case stripped of his official or representative character and is subjected in his
        person to the consequences of his individual conduct. The State has no power to impart to
        him any immunity from responsibility to the supreme authority of the United States."
        [Emphasis supplied in original].

139.   State officials may be sued as individuals in § 1983 actions. Brokaw v. Mercer County, 235 F.3d

1000 (7th Cir. 2000).

140.   Plaintiffs allege that the attorneys and judges sued in this case (officers of the court) totally lacked

subject matter jurisdiction and therefore pursued this action and presided over this action without any

legal authority as individuals and trespassers of the Constitution of the United States. The sham

prosecutors and judge had no constitutional or statutory authority or jurisdiction to either conduct the

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March 21, 2022 hearing or issue an order resulting from that hearing. The court had no subject matter

jurisdiction because the judge’s authority to issue the March 21, 2022 order was legally insufficient and

void as a violation of the Supremacy clause.

141.   The attorney, Erik Spurlin had no authority to bring this motion into the Orphans court as it was

presented on allegations inconsistent with truth.

142.   A Judge may not claim jurisdiction by fiat. All orders or judgments issued by a judge in a court

of limited jurisdiction must contain the findings of the court showing that the court has subject-matter

jurisdiction, not allegations that the court has jurisdiction.

143.   Erik D Spurlin, Brandy Hoke and Judge Vedder failed to inspect the records of the case, which

is the controlling factor. Erik D Spurlin’s motion of February 11, 2022 contained a minimum of 11

allegations, scurrilous in nature, defamatory by fiat, debasing with tormenting and threating actions

directed at the Plaintiff’s but most pointily, an elderly, 83-year-old widow, who, for the second time in

a period of 12 years, felt the need to retreat to her home country of Belize to escape the oppressive

emotional, enslaving torment perpetuated by officers of now, the York County Orphans court.

144.   Judge Vedder failed, not only to act in accordance with the conduct becoming judge , but trampled

on the Petitioners’ 1, 5, 6, and 14 amendment rights.

145.   Judge Vedder failed at providing impartiality within the hearing in accordance with the

Pennsylvania Judicial Code of Ethics, by refusing to allow the Plaintiff’s attorney to present

incontrovertible evidence contrary to the allegations presented in the February 11, 2022 Petition.

146.   Judge Vedder failed to uphold the adjudicative responsibilities according to the code of Ethics

(Canon 3(A)(4)) required by the state for him to uphold by excusing Plaintiffs and their attorney with a

fabricated legal excuse of having no standing:

            “Judges should accord to all persons who are legally interested in a proceeding, or their
            lawyers, full right to be heard according to law, and, except as authorized by law, must
            not consider ex parte communications concerning a pending proceeding.”

147.   If the record of the case does not support subject-matter jurisdiction, then the judge has acted
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without subject-matter jurisdiction. “If it could not legally hear the matter upon the jurisdictional paper

presented, its finding that it had the power can add nothing to its authority, – it had no authority to make

that finding.” The People v. Brewer, 328 Ill. 472, 483 (1928) Without the specific finding of jurisdiction

by the court in an order or judgment, the order or judgment does not comply with the law and is void.

The finding cannot be merely an unsupported allegation.

148.   The law is well-settled that a void order or judgment is void even before reversal. “Courts are

constituted by authority and they cannot go beyond that power delegated to them. If they act beyond that

authority, and certainly in contravention of it, their judgments and orders are regarded as nullities. They

are not voidable, but simply void, and this even prior to reversal.” Vallely v. Northern Fire & Marine

Ins. Co., 254 U.S. 348, 41 S.Ct. 116 (1920).

149.   Judge Vedder, Erik Spurlin, Julie Fernandez, Raymond Card, Kermit Card and Brandy Hoke

perpetuated fraud on the court by injecting, knowingly allowing, promoting, acting upon deceitful

misrepresentations, unsupported allegations, and false information into the judicial process.

150.   Plaintiffs demand jury trial in accordance with Seventh Amendment to the Constitution and Rule

38 of the Federal Rules of Civil Procedure.



ADDRESSING ROOKER-FELDMAN

151.   Rooker-Feldman is void and illegal on its face. It constitutes a conspiracy against rights to even

devise that Rooker-Feldman could have any semblance of application herein as there was never and will

never be jurisdiction in the lower court.

152.   Rooker-Feldman wars against the Constitution. The order of the lower court is void ab initio and

The Rooker-Feldman Doctrine does not apply due to fraud and its conflict with the supreme law of the

United States.

153.   The Eleventh Circuit in Woods v. Orange County, 715 F.2d 1543, 1548 (11 Cir. 1983) cert denied


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467 US 1210 and as later adopted by the Eleventh Circuit, U.S. v. Napper, 887 F.2d 1528, 1534 (11 Cir.

1989) it was held that the federal court has jurisdiction to grant relief to a litigant who in the state court

was barred from arguing due process issues.

154.   Plaintiffs hold that Rooker-Feldman is not applicable in this instance.



                                     VII. ARGUMENT
                               INEFFECTIVE ASSISTANCE OF COUNSEL

155.   Kenneth Swenson hired a local attorney, Joanna Toft-Funk, to represent the Petitioners’ and

family’s interests.

156.   The attorney was summarily dismissed prior to the hearing and sequestered by the court as if she

were someone off the street who was in the courtroom to be entertained.

157.   She was not allowed to speak in the courtroom.

158.   She was not allowed to represent the Plaintiff or his family’s interest in the courtroom.

159.   She was not allowed to cross examine or question the regurgitated allegations put forward in Erik

Spurlin’s Petition.

160.   She was not allowed to present factual evidence that, if admitted, would have turned the court’s

pointed questioning from the Plaintiff toward the Defendants and their malicious, contrived intent to

continue pilfering of Mrs. Ella Card’s estate.

161.   Joanna Toft-Funk is known to Judge Vedder and to the York County Orphans Court as a

competent counsel.

162.   Joanna Toft-Funk is a licensed practicing Pennsylvania attorney admitted in York County Court

and also in the United States District Court, Middle District of Pennsylvania.

163.   The right to counsel is guaranteed by the Sixth and Fourteenth Amendments of the United States

Constitution. It has been interpreted to mean the right to effective counsel: “It has long been recognized

that the right to counsel is the right to the effective assistance of counsel.” McMann v. Richardson, 397

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U.S. 759, 771, n.14, 90 S.Ct. 1441, 25 L.Ed.2d 763 (1970).

164.   Judge Clyde Vedder of The Court of Common Pleas of York County Pennsylvania did not

follow the law. He in fact relied on collegial hearsay rather that evidentiary fact to arrive at a

predetermined, prejudicial and subjective opinion of Kenneth Swenson’s activities as they relate to

his relationship with and treatment of Mrs. Ella Card.

165.   This judge did not follow the law. He rather embraced the allegations trumped up by New

York counsel Julie Fernandez, put forth by Erik Spurling and tagged onto by Brandy Hoke that were

at best diminutive and scurrilous lies she had perfected in relaying to colleagues and willing sitting

Judges in order to obtain her 30 shekels of silver from Mrs. Ella Card’s estate.

166.   The March 21, 2022 Order issued by the York County Court should be rendered void, of no

legal force or effect based on a loss of his subject-matter jurisdiction and illegal activity in the

courtroom that day. U.S. Supreme Court, Scheuer v. Rhodes, 416 U.S. 232, 94 S. Ct. 1683, 1687

(1974)

167.   Noted by the Supreme Court in Strickland v. Washington, 466 U.S. 668, 686, 104 S. Ct.

2052, 80 L.Ed.2d 674 (1984), “The benchmark for judging any claim of ineffectiveness must be

whether counsel's conduct so undermined the proper functioning of the adversarial process that the

trial cannot be relied on as having produced a just result.”

168.   The Plaintiff’s attorney’s performance was deficient because of the abject nature of a natural

relationship between judge and counsel in lower court settings. Counsel will naturally adhere to the

judge’s edict, be it right or wrong. This deficiency prejudiced the court.

169.   Judge Vedder trespassed the superior law of the United States by refusing to allow Plaintiff’s

Counsel speak to defend Plaintiff, present evidence, inform Plaintiff of his 5th amendment right

against self-incrimination. Had the Plaintiff’s attorney be able to represent the Plaintiff in the

professional way she has historically performed, and the judge not been a trespasser of the law , the


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results of the proceeding would have been different.” Id. at 694, 104 S. Ct. 2052.

170.   Plaintiffs demand jury trial in accordance with Seventh Amendment to the Constitution and Rule

38 of the Federal Rules of Civil Procedure.



                                   VIII. ARGUMENT
                              VIOLATION OF SIXTH AMMENDMENT

171.   Plaintiffs were denied Due Process in violation of the 6th Amendment of the United States.

172.   Plaintiffs were denied effective Assistance of Counsel from the inception of the March 21,

2022 hearing. Judge Vedder made it very clear that Plaintiff’s counsel was to neither speak, present

evidence, oppose any questions posed by the court or other officers of the court, defend Plaintiff in

any way.

173.   The lower court intentionally denied Kenneth Swenson his own attorney even though he had

signed a retainer, deposited the check and personally delivered the check and retainer to her prior

to the hearing.

174.   Although right to counsel are explicitly held to apply to Criminal cases, the Supreme Court

of Pennsylvania In re Adoption of R.I. states , in part;

            “The court stated that it would be “grossly unfair to force appellant to defend
           against the appellees’ case without the assistance of someone, trained in the law,
           who could test the appellees’ case by the rules of evidence and the techniques of
           cross-examination.”

175.   It has long been established that an individual is entitled to counsel at and proceeding which

may lead to the deprivation of “substantial rights.” As the Federal District Court wrote in [Cleaver

v. Wilcox, decided March 22. 1972 (40 U.S.L.W.2658)]. ‘whether the proceeding be labelled

‘civil’ or ‘criminal’…”.

176.   Plaintiff holds that in light of the courts abruptly crude dismissal of Plaintiffs’ right to

counsel; the proclamation that Plaintiff had “no standing”.


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177.   The court had record of a hand-delivered service demanding Plaintiff’s presence at the

hearing; the court forcing Plaintiff to testify; the Judge’s demeanor in the court-room, berating the

Plaintiff and flagrant dismissal of his Oath of Judicial Conduct; Judge Vedder’s full embrace of Erik

Spurling’s Petition containing a plethora of un-vetted, unsubstantiated and un-challenged

allegations against the Plaintiffs created a clearly prejudicial and biased courtroom environment

178.   Because Judge Vedder established this prejudicial, bias, demeaning courtroom environment

the Plaintiffs’ concern is that any further proceedings emanating from, within or taken by this court

in this instance toward the Plaintiffs, would result in further depriving the Plaintiffs of their

substantial rights.

179. An individual’s “,,,right to counsel in all stages of any proceeding…” is further enforced

in 35 Pa. Stat. Ann. § 2140.301(b)(4).

180. Judge Clyde Vedder denied Plaintiffs of their 6th Amendment Rights.

181.   Plaintiffs demand jury trial in accordance with Seventh Amendment to the Constitution and Rule

38 of the Federal Rules of Civil Procedure.



                                IX.   ARGUMENT
                      VIOLATION OF THE FOURTEENTH AMMENDMENT

182.   The Fourteenth Amendment “forbids the government to infringe ... ‘fundamental’ liberty

interests at all, no matter what process is provided, unless the infringement is narrowly tailored to

serve a compelling state interest.” Reno v. Flores, 507 U.S. 292, 301-302, 123 L. Ed. 2d 1, 113 S.

Ct. 1439 (1993). Further stating that: “Due Process Clause "protects individual liberty against

"certain government actions regardless of the fairness of the procedures used to implement them')”

183.   Judge Vedder stated no compelling state interest in stripping Kenneth Swenson of due

process. In the weeks post-March 21, 2022, Kenneth Swenson and Plaintiffs have spent mornings

and evenings unravelling the unfair, demeaning, un-constitution actions and burdens Judge Vedder

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and the officers of the court present in that instance harnessed the Plaintiffs with. Deprivation from

family, deprivation from entertainment, deprivation of sleep, of inner peace and more importantly

the corrosive and undermining effect of a judicial system established to protect its citizens using its

God-given authority to abuse, harass and defame those citizens for the sake of expediency, collegial

approval and alleged self-gratification.

184.   The Supreme Court of the United States, in id., at 503 (plurality opinion); Snyder v.

Massachusetts, 291 U.S. 97, 105, 54 S.Ct. 330, 78 L.Ed. 674 (1934) Chief Justice Rehnquist states:

         “Our established method of substantive-due-process analysis has two primary features: First, we have
         regularly observed that the Due Process Clause specially protects those fundamental rights and
         liberties which are, objectively, “deeply rooted in this Nation's history and tradition,” (“so rooted in the
         traditions and conscience of our people as to be ranked as fundamental”), and “implicit in the concept
         of ordered liberty,” such that “neither liberty nor justice would exist if they were sacrificed,” Palko v.
         Connecticut, 302 U.S. 319, 325, 326, 58 S. Ct. 149, 82 L.Ed. 288 (1937). Second, we have required in
         substantive-due-process cases a “careful description” of the asserted fundamental liberty interest.
         Reno v. Flores, 507 U.S. 292, 302, 113 S.Ct. 1439, 123 L.Ed.2d 1 (1993); Collins v. Harker Heights.

185.   As officers of the court, Judge Vedder, Erik Spurlin, Julie Fernandez, and Brandy Hoke infringed

on Plaintiffs’ fundamental liberties of due process and equal protection under the law.

ADDRESSING THE ELEVENTH AMENDMENT

186.   Even though Sovereign Immunity is granted by the Eleventh Amendment, there are four

exceptions in which the Supreme Court and Federal judicial branch may hear a lawsuit levied against a

state. The Eleventh Amendment does not protect a state’s political subdivisions, such as counties, cities,

or municipalities, which are all liable to be sued in a Federal judicial branch jurisdiction.

187.   In certain cases, Congress allows for a state to be sued and heard in a Federal court under the Due

Process Clause of the Fourteenth Amendment. The last exception relates to the citizens seeking an

injunction against state officials in a Federal court if they are in violation of Federal law.


188.   The Primary Holding In Ex parte YOUNG, 209 U.S. 123 (1908) states:

       “If government officials attempt to enforce an unconstitutional law, sovereign immunity
       does not prevent people whom the law harms from suing those officials in their individual
       capacity for injunctive relief. This is because they are not acting on behalf of the state in

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         this situation.”

When a judge acts as a trespasser of the law, when a judge does not follow the law, the judge loses

subject-matter jurisdiction and the judge’s orders are void, of no legal force or effect. The U.S.

Supreme Court, in Scheuer v. Rhodes, 416 U.S. 232, 94 S. Ct.. states:

          “The State has no power to impart to him any immunity from responsibility to the supreme
          authority of the United States." [Emphasis supplied in original]. By law, a judge is a state
          officer. The judge then acts not as a judge, but as a private individual (in his person). The
          U.S. Supreme Court has stated that "No state legislator or executive or judicial officer can
          war against the Constitution without violating his undertaking to support it.".


  189. Judge Vedder clearly “warred against Plaintiffs’ constitutional rights by denying, the

  right to counsel.

  190.   Plaintiffs demand jury trial in accordance with Seventh Amendment to the Constitution and Rule

  38 of the Federal Rules of Civil Procedure.




                                    X.       MANIFEST INJUSTICE

  191.   Kenneth Swenson was dealt a blow of Manifest injustice from the York County Court. What the

  court allowed to happen to him on March 21, 2022 was, without any stretch of the imagination or

  common sense obviously unfair and shocking to the average American’s conscience.

  192.   The Court of Common Pleas of York County Pennsylvania committed numerous plain errors

  when it deprived Plaintiffs of their fundamental due process rights, thus, by default, denying the Plaintiffs

  of their life, liberty and property, United States v. Quintana, 300 F.3d 1227, 1232 (11th Cir.2002. A

  judgment is a void judgment if court that rendered judgment lacked jurisdiction of the subject matter, or

  of the parties, or acted in a manner inconsistent with due process, Fed. Rules Civ. Proc., Rule 60(b)(4),

  28 U.S.C.A., U.S.C.A. Const. Amend. 5 - Klugh v. U.S., 620 F.Supp. 892 (D.S.C. 1985).

  193.   The United States Court of Appeals for the Third Circuit (“Third Circuit”) has not definitively

  circumscribed the “manifest injustice” standard. See Conway v. A.I. Dupont Hosp. for Children, No. 04-

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4862, 2009 WL 1492178, at *6 (E.D. Pa. May 26, 2009) (noting that there is “a dearth of case law within

the Third Circuit” defining manifest injustice). However, our Plaintiffs erroneously state this ground as

only “injustice” when citing to N. River Ins. Co. v. 3 CIGNA Reinsurance Co., 52 F.3d 1194, 1218 (3d

Cir. 1995).

        ”… several courts have applied the Black’s Law Dictionary definition, which states that
        “manifest injustice” is an error in the trial court that is direct, obvious, and observable…. A
        party may only be granted reconsideration based on manifest injustice if the error is apparent to
        the point of being indisputable. In order for a court to reconsider a decision due to “manifest
        injustice,” the record presented must be so patently unfair and tainted that the error is manifestly
        clear to all who view it”

194.   As officers of the court, Judge Vedder, Erik Spurlin, Julie Fernandez, and Brandy Hoke subjected

the Plaintiff and by extension, his immediate and extended family to significant mis-treatment and

violations of fundamental rights granted to every citizen of the United States, that are direct and obvious

from any perspective.

195.   In Conley v. Gibson, David M. Roberts, Fact Pleading, Notice Pleading and Standing, 65

CORNELL L. REV. 390, 419 (1980) the Supreme Court stated that the 12(b) (6) motion must not be

granted "unless it appears beyond doubt that the plaintiff can prove no set of facts in support of his claim

which would entitle him to relief.

196.   The Plaintiffs have clearly shown the court facts supporting our claims pertinent to each

Defendant and ask it not be quick to employ or entertain 12(b) (6), or other routine clauses to dismiss, as

a matter of standard course.

197.   In Rennie & Laughlin, Inc. v. Chrysler Corp., 242 F.2d 208, 213 (9th Cir. 1957) (citing DeLoach

v. Crowley's, Inc., 128 F.2d 378, 380 (5th Cir. 1942)) we hear that: "the primary objective of the law is

to obtain a decision on the merits of any claim; and that a case should be tried substantially on the merits

rather than technically on the pleading."'

198.   Plaintiffs demand jury trial in accordance with Seventh Amendment to the Constitution and Rule

38 of the Federal Rules of Civil Procedure.


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 199.   Whoever, having knowledge of the actual commission of a felony cognizable by a court of the

 United States, conceals and does not as soon as possible make known the same to some judge or other

 person in civil or military authority under the United States, shall be fined under this title or imprisoned

 not more than three years, or both. 18 U.S. Code § 4



                      ADDRESSING VOID ORDERS FROM ANY COURT

Orders from the Brooklyn Supreme Court from March 16, 2011, July 21, 2020 and the York County
Orphans Court of March 21, 2022 and all ensuing orders from both courts are considered void based on
due process violations, personal and subject matter jurisdiction, and fraud upon the court. See below:

Void judgment is one where court lacked personal or subject matter jurisdiction or entry of order violated
due process, U.S.C.A. Const. Amend. 5 - Triad Energy Corp. v. McNell 110 F.R.D. 382 (S.D.N.Y. 1986).

Judgment is a void judgment if court that rendered judgment lacked jurisdiction of the subject matter, or
of the parties, or acted in a manner inconsistent with due process, Fed. Rules Civ. Proc., Rule 60(b)(4), 28
U.S.C.A., U.S.C.A. Const. Amend. 5 - Klugh v. U.S., 620 F.Supp. 892 (D.S.C. 1985).

A void judgment is one which, from its inception, was, was a complete nullity and without legal
effect, Rubin v. Johns, 109 F.R.D. 174 (D. Virgin Islands 1985).

A void judgment is one which, from its inception, is and forever continues to be absolutely null, without
legal efficacy, ineffectual to bind the parties or to support a right, of no legal force and effect whatever,
and incapable of enforcement in any manner or to any degree - Loyd v. Director, Dept. of Public Safety,
480 So. 2d 577 (Ala. Civ. App. 1985).

A judgment shown by evidence to be invalid for want of jurisdiction is a void judgment or at all events
has all attributes of a void judgment, City of Los Angeles v. Morgan, 234 P.2d 319 (Cal.App. 2 Dist.
1951).

Void judgment which is subject to collateral attack, is simulated judgment devoid of any potency because
of jurisdictional defects, Ward v. Terriere, 386 P.2d 352 (Colo. 1963).

A void judgment is a simulated judgment devoid of any potency because of jurisdictional defects only, in
the court rendering it and defect of jurisdiction may relate to a party or parties, the subject matter, the
cause of action, the question to be determined, or relief to be granted, Davidson Chevrolet, Inc. v. City
and County of Denver, 330 P.2d 1116, certiorari denied 79 S.Ct. 609, 359 U.S. 926, 3 L.Ed. 2d 629 (Colo.
1958).

Void judgment is one entered by court without jurisdiction of parties or subject matter or that lacks
inherent power to make or enter particular order involved and such a judgment may be attacked at any
time, either directly or collaterally, People v. Wade, 506 N.W.2d 954 (Ill. 1987).

Void judgment may be defined as one in which rendering court lacked subject matter jurisdiction, lacked

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personal jurisdiction or acted in manner inconsistent with due process of law Eckel v. MacNeal, 628 N.E.
2d 741 (Ill. App. Dist. 1993).

Void judgment is one entered by court without jurisdiction of parties or subject matter or that lacks
inherent power to make or enter particular order involved; such judgment may be attacked at any time,
either directly or collaterally People v. Sales, 551 N.E.2d 1359 (Ill.App. 2 Dist. 1990).

Res judicata consequences will not be applied to a void judgment which is one which, from its inception,
is a complete nullity and without legal effect, Allcock v. Allcock, 437 N.E. 2d 392 (Ill. App. 3 Dist. 1982).

Void judgment is one which, from its inception is complete nullity and without legal effect In re Marriage
of Parks, 630 N.E. 2d 509 (Ill.App. 5 Dist. 1994). Void judgment is one entered by court that lacks the
inherent power to make or enter the particular order involved, and it may be attacked at any time, either
directly or collaterally; such a judgment would be a nullity. People v. Rolland, 581 N.E.2d 907, (Ill.App.
4 Dist. 1991).

Void judgment under federal law is one in which rendering court lacked subject matter jurisdiction over
dispute or jurisdiction over parties, or acted in manner inconsistent with due process of law or otherwise
acted unconstitutionally in entering judgment, U.S.C.A. Const. Amed. 5, Hays v. Louisiana Dock Co.,
452 n.e.2D 1383 (Ill. App. 5 Dist. 1983).

A void judgment has no effect whatsoever and is incapable of confirmation or ratification, Lucas v. Estate
of Stavos, 609 N. E. 2d 1114, rehearing denied, and transfer denied (Ind. App. 1 dist. 1993). Void
judgment is one that from its inception is a complete nullity and without legal effect Stidham V. Whelchel,
698 N.E.2d 1152 (Ind. 1998).

Relief from void judgment is available when trial court lacked either personal or subject matter
jurisdiction, Dusenberry v. Dusenberry, 625 N.E. 2d 458 (Ind.App. 1 Dist. 1993).

Void judgment is one rendered by court which lacked personal or subject matter jurisdiction or acted in
manner inconsistent with due process, U.S.C.A. Const. Amends. 5, 14 Matter of Marriage of Hampshire,
869 P.2d 58 ( Kan. 1997).

Judgment is void if court that rendered it lacked personal or subject matter jurisdiction; void judgment is
nullity and may be vacated at any time, Matter of Marriage of Welliver, 869 P.2d 653 (Kan. 1994).

A void judgment is one rendered by a court which lacked personal or subject matter jurisdiction or acted
in a manner inconsistent with due process. In re Estate of Wells, 983 P.2d 279, (Kan. App. 1999).

Void judgment is one rendered in absence of jurisdiction over subject matter or parties, 310 N.W. 2d 502,
(Minn. 1981).

A void judgment is one rendered in absence of jurisdiction over subject matter or parties, Lange v.
Johnson, 204 N.W.2d 205 (Minn. 1973).

A void judgment is one which has merely semblance, without some essential element, as when court
purporting to render is has no jurisdiction, Mills v. Richardson, 81 S.E. 2d 409, (N.C. 1954).

A void judgment is one which has a mere semblance, but is lacking in some of the essential elements

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which would authorize the court to proceed to judgment, Henderson v. Henderson, 59 S.E. 2d 227, (N.C.
1950).

Void judgment is one entered by court without jurisdiction to enter such judgment, State v. Blankenship,
675 N.E. 2d 1303, (Ohio App. 9 Dist. 1996).

Void judgment, such as may be vacated at any time is one whose invalidity appears on face of judgment
roll, Graff v. Kelly, 814 P.2d 489 (Okl. 1991).

A void judgment is one that is void on face of judgment roll, Capital Federal Savings Bank v. Bewley,
795 P.2d 1051 (Okl. 1990).

Where condition of bail bond was that defendant would appear at present term of court, judgment
forfeiting bond for defendant's bail to appear at subsequent term was a void judgment within rule that
laches does not run against a void judgment, Com. V. Miller, 150 A.2d 585 (Pa. Super. 1959).

A void judgment is one in which the judgment is facially invalid because the court lacked jurisdiction or
authority to render the judgment, State v. Richie, 20 S.W.3d 624 (Tenn. 2000).

Void judgment is one which shows upon face of record want of jurisdiction in court assuming to render
judgment, and want of jurisdiction may be either of person, subject matter generally, particular question
to be decided or relief assumed to be given, State ex rel. Dawson v. Bomar, 354 S.W. 2d 763, certiorari
denied, (Tenn. 1962).

A void judgment is one which shows upon face of record a want of jurisdiction in court assuming to
render the judgment, Underwood v. Brown, 244 S.W. 2d 168 (Tenn. 1951).

A void judgment is one which shows on face of record the want of jurisdiction in court assuming to
render judgment, which want of jurisdiction may be either of the person, or of the subject matter
generally, or of the particular question attempted to decided or relief assumed to be given, Richardson v.
Mitchell, 237 S.W. 2d 577, (Tenn.Ct. App. 1950).

Void judgment is one which has no legal force or effect whatever, it is an absolute nullity, its invalidity
may be asserted by any person whose rights are affected at any time and at any place and it need not be
attacked directly but may be attacked collaterally whenever and wherever it is interposed, City of Lufkin v.
McVicker, 510 S.W. 2d 141 (Tex. Civ. App. - Beaumont 1973).

A void judgment, insofar as it purports to be pronouncement of court, is an absolute nullity, Thompson v.
Thompson, 238 S.W.2d 218 (Tex.Civ.App. - Waco 1951).

A void judgment is one that has been procured by extrinsic or collateral fraud, or entered by court that did
to have jurisdiction over subject matter or the parties, Rook v. Rook, 353 S.E. 2d 756, (Va. 1987).

A void judgment is a judgment, decree, or order entered by a court which lacks jurisdiction of the parties
or of the subject matter, or which lacks the inherent power to make or enter the particular order
involved, State ex rel. Turner v. Briggs, 971 P.2d 581 (Wash. App. Div. 1999).

A void judgment or order is one that is entered by a court lacking jurisdiction over the parties or the
subject matter, or lacking the inherent power to enter the particular order or judgment, or where the order

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was procured by fraud, In re Adoption of E.L., 733 N.E.2d 846, (Ill.App. 1 Dist. 2000).

Void judgments are those rendered by court which lacked jurisdiction, either of subject matter or
parties, Cockerham v. Zikratch, 619 P.2d 739 (Ariz. 1980).

Void judgments generally fall into two classifications, that is, judgments where there is want of
jurisdiction of person or subject matter, and judgments procured through fraud, and such judgments may
be attacked directly or collaterally, Irving v. Rodriquez, 169 N.E.2d 145, (Ill.app. 2 Dist. 1960).

Invalidity need to appear on face of judgment alone that judgment or order may be said to be intrinsically
void or void on its face, if lack of jurisdiction appears from the record, Crockett Oil Co. v. Effie, 374
S.W.2d 154 ( Mo.App. 1964).

Decision is void on the face of the judgment roll when from four corners of that roll, it may be determined
that at least one of three elements of jurisdiction was absent: (1) jurisdiction over parties, (2) jurisdiction
over subject matter, or (3) jurisdictional power to pronounce particular judgment hat was rendered, B & C
Investments, Inc. v. F & M Nat. Bank & Trust, 903 P.2d 339 (Okla. App. Div. 3, 1995).

Void order may be attacked, either directly or collaterally, at any time, In re Estate of Steinfield, 630
N.E.2d 801, certiorari denied, See also Steinfeld v. Hoddick, 513 U.S. 809, (Ill. 1994).

Void order which is one entered by court which lacks jurisdiction over parties or subject matter, or lacks
inherent power to enter judgment, or order procured by fraud, can be attacked at any time, in any court,
either directly or collaterally, provided that party is properly before court, People ex rel. Brzica v. Village
of Lake Barrington, 644 N.E.2d 66 (Ill.App. 2 Dist. 1994).

While voidable orders are readily appealable and must be attacked directly, void order may be
circumvented by collateral attack or remedied by mandamus, Sanchez v. Hester, 911 S.W.2d 173,
(Tex.App. - Corpus Christi 1995).

When rule providing for relief from void judgments is applicable, relief is not discretionary matter, but is
mandatory, Orner v. Shalala, 30 F.3d 1307, (Colo. 1994).

Judgments entered where court lacked either subject matter or personal jurisdiction, or that were
otherwise entered in violation of due process of law, must be set aside, Jaffe and Asher v. Van Brunt,
S.D.N.Y.1994. 158 F.R.D. 278.

“It is a fundamental precept that federal courts are courts of limited jurisdiction, constrained to exercise
only authority conferred by Article III of the Constitution and affirmatively granted by federal statute.”
In re Bulldog Trucking, 147 F.3d 347, 352 (4th Cir.1998) (citations omitted). A federal court cannot
assume jurisdiction exists. Rather, the plaintiff is required to specifically plead adequate facts in its
complaint to sufficiently establish the court has jurisdiction. Norton v. Larney, 266 U.S. 511, 515-16
(1925). A defendant may move for dismissal when a complaint contains a jurisdictional defect.
Fed.R.Civ.P. 12(b)(1).




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POSTSCRIPT:
In August of 2021 the Plaintiffs’ filed for an injunction in the Appellate Division-2nd Dept of New York to
place a stay on the sale of 161 and 155 Saratoga Ave and have the illegal guardianship vacated. All
Plaintiffs, including Mrs. Ella Card were part of that filing. Over the course of months, there were at
least eight corrections made at the behest of the Appellate Clerk. On March 3, 2022 we filed a final
corrected motion. Because prior motions contained Mrs. Ella Cards signature, we carried this into and
on this filing as it was her intent from the start of this action.

We carried her desire forward because she knew, as we did, that if Julie Fernandez, Raymond and
Kermit Cared were not stopped, they would take everything from the rightful and designated heir of Mrs.
Ella Cards estate, Cindy Rubina Card. These malicious Defendants all have an insatiable appetite for
property, assets, money and valuables belonging to not themselves. They feel entitled and have shown,
throughout the past three years with malicious prosecution, fraudulent and contrived allegations, all
drummed up within their fraudulant and illegal guardianship, as though they are facts so they could
continue to pillage and plunder whatever they could grab, truly believing it to be their right.

By the Grace of God Almighty, the Appellate court granted a stay for the sale of properties that Cindy
Card has called home and has resided in for the last 34 years. We honored Mrs. Ella Cards wishes as
expressed in the letters she penned in stating that if she would pass, she did not want her disowned
estranged sons to “…not look on my face or enter the doors of my funeral.” (EXHIBIT 11) She did not
want them to know where she passed, where she was laid to rest, or even want to know she had gone. She
had nothing but fear and contempt for them and she told everyone that she only had two daughters. We
did all we could to honor Mrs. Ella Cards requests and refuse to be vilified by crass, indignant thieves
who care nothing more than to demonize what is good, taint what is true and degrade what is honorable.

We gave ourselves time to honor our beloved mother, Mrs. Ella Card’s wishes and to begin the grieving
process. Unfortunately, because we have been dealing with diabolatical thieves for the last 11 years, we
knew we had to get on with the business of preserving Mrs. Ella Cards estate. We secured an attorney
who began to assist us in this process, Jonna Toft, and presented her to the court on March 21, 2022.
Unfortunately, as has been the process for the last 11 years, this too was tainted by the consistent greed
and diabolic intentions of the judicial system that has done nothing by hurt and harm, and eventually kill
Mrs. Ella Card.

We pray this court provide Plaintiffs ample opportunity in this court’s jurisdiction to provide documented
evidence supporting our claims in that this honorable court may decide Plaintiffs’ claims on their merits
rather than technical legal maneuvers deployed, or attempted to be deployed by any of the Defendants or
their representatives.




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  WHEREFORE, for the reasons mentioned, we pray, as victims of crimes committed against us as
  Plaintiffs, this court:
•     Provide Declaratory Relief to Plaintiffs by voiding the March 21, 2022 Order issued by the lower
      court.
•     Require Judge Clyde Vedder recuse himself from this instance and not be allowed to preside over
      any case resulting from this instance or involving any named Plaintiffs.
•     Require co-guardians produce the transitional accountingfrom Vera Institute to the co-guardians in
      2020 including their accounting for their Guardianship of Ella Card for the years of 2017 and 2019.
•     Require the disowned sons and illegal co-guardians, Raymond Card and Kermit Card produce their
      initial accounting when assuming guardianship in June of 2021 and Accounting for their
      Guardianship of Ella card for the years of 2020, 2021 and 2022,
•     Issue a Preliminary Injunction and Temporary Restraining Order on Julie Fernandez, Erik Spurlin,
      Raymond Card, Kermit Card and Brandy Hoke related to all activity associated with the Estate of
      Ella Card.
•     That all rulings from March 16, 2011 hearing, including ensuing rulings, leases, contracts and
      awards in violation of Title 28 U.S.C. §1446(d), including the sale of Ella Card’s 155 and 161
      properties, and the illicit appointment of Raymond Card Jr. and Kermit Card as co-guardians over
      Ella Card’s property and person be vacated and classified void as a nullity to protect Ella Card and
      her property from the immediate injury that has befallen her, thereby protecting Ella Card’s property
      from waste, misappropriation, and loss in accordance with MHL § 81.23(a)(1).
•     That all rulings from July 21, 2020 hearing, including ensuing rulings, leases, contracts and awards
      in violation of Title 28 U.S.C. §1446(d), including the sale of Ella Card’s 155 and 161 properties,
      and the illicit appointment of Raymond Card Jr. and Kermit Card as co-guardians over Ella Card’s
      property and person be vacated and classified void as a nullity to protect Ella Card and her property
      from the immediate injury that has befallen her, thereby protecting Ella Card’s property from waste,
      misappropriation, and loss in accordance with MHL § 81.23(a)(1).
•     Require co-guardians produce the transitional accounting to the Cindy Card, the Executor of the
      estate of Mrs. Ella Card.
•     Order the immediately release of Mrs. Ella Card’s assets and estate to Cindy Rubina Card in
      accordance with the Will and Irrevocable Trust of Mrs. Ella Card.
•     Remedy for Plaintiffs’ pain, suffering, incessant torment, malicous prosecution, unlawfully
      imprisionment, degradation of quality of life, wrongful death, defamation of character, excessive
      cruel and unusual punishment, extortion, in the amount of $500,000,000.
•     Julie Fernandez 7 sanctioned Cocoran Group/co-guardians cease collecting rent from 161
      Saratoga, reimburse all rent collected thereunder and retured to the executor of the Estate, Cindy
      Card with said lease terminated.




7
 The Corcoran Group entered into a lease with the tenants renting the store yet claiming that Cindy Card was
collecting said rent.
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                          STATEMENTS OF ADDITIONAL CLAIMS
We the Plaintiffs claim that:
    A. Judge Clyde Vedder
             a. Denied Plaintiff an attorney of his choice violating the 6th Amendment of the US
                 Constitution
             b. Entertained and engaged in aggressive, intimidating, line of questioning cloaking
                 the courtroom with an aurora of disdain, subliminally adjudicating guilt upon the
                 Plaintiff, lack of impartiality that undermined confidence in a just decision, all in
                 contradiction to the Pennsylvania Code of Judicial Conduct he had sworn to
                 uphold
             c. Deprived Plaintiffs of their Civil Rights
             d. Conspired with Court Officials to interfere with Plaintiffs Civil Rights
             e. Committed Fraud on the Court
             f. Promulgated, induced, insisted, in-kind officially authorized Ineffective
                 Assistance of Counsel for Plaintiffs
             g. Violated Plaintiffs’ Fourteenth Amendment rights
             h. Committed, engaged in, and promoted Elder Abuse leading up to and
                 contributing to the wrongful and untimely death of Mrs. Ella Card
             i. Engaged in Manifest Injustice committing blatant errors of justice shocking to any
                 of those outside the courts arena
We claim relief from this Honorable Court in accordance with fines and punishments consistent with
those listed in APPENDIX A

    B. Erik D Spurlin
             a. Conspired with Court Officials to interfere with Plaintiffs Civil Rights
             b. Conspired with Court Officials to defraud the court by presenting allegations
                 known to be fraudulent and without merit.
             c. Committed Fraud on the Court advancing unfounded scurrilous accusations at the
                 Plaintiffs
             d. Committed, engaged in, and promoted Elder Abuse leading up to and
                 contributing to the wrongful and untimely death of Mrs. Ella Card
             e. Falsely accused Plaintiffs of federal crimes
             f. Failed in his duty as an officer of the court to perform a reasonable investigation
                 assuring the allegations put forth into the court were with merit.
             g. Committed wanton and incessant Malicious Prosecution against Petitioners
We claim relief from this Honorable Court in accordance with fines and punishments consistent with
those listed in APPENDIX A

   C. Julie Fernandez
          a. Conspired with Court Officials to interfere with Plaintiffs Civil Rights
          b. Conspired with Court Officials to defraud the court by presenting allegations
              known to be fraudulent and without merit.
          c. Committed Fraud on the Court advancing unfounded scurrilous accusations at the
              Plaintiffs
          d. Committed, engaged in, and promoted Elder Abuse leading up to and
              contributing to the wrongful and untimely death of Mrs. Ella Card

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             e. Falsely accused Plaintiffs of federal crimes
             f. Falsely represented herself as Mrs. Ella Card’s counsel to a court official
             g. Failed in his duty as an officer of the court to perform a reasonable investigation
                 assuring the allegations put forth into the court were with merit.
             h. Willfully suppressed evidence
             i. Committed wanton and incessant Malicious Prosecution against Petitioners
We claim relief from this Honorable Court in accordance with fines and punishments consistent with
those listed in APPENDIX A

    D. Raymond Card
             a. Conspired with Court Officials to interfere with Plaintiffs Civil Rights
             b. Conspired with Court Officials to defraud the court by presenting allegations
                 known to be fraudulent and without merit.
             c. Committed, engaged in, and promoted Elder Abuse leading up to and
                 contributing to the wrongful and untimely death of Mrs. Ella Card.
             d. Willfully suppressed evidence
             e. Committed wanton and incessant Malicious Prosecution against Petitioners
We claim relief from this Honorable Court in accordance with fines and punishments consistent with
those listed in APPENDIX A

    E. Kermit Card
             a. Conspired with Court Officials to interfere with Plaintiffs Civil Rights
             b. Conspired with Court Officials to defraud the court by presenting allegations
                 known to be fraudulent and without merit.
             c. Committed, engaged in, and promoted Elder Abuse leading up to and
                 contributing to the wrongful and untimely death of Mrs. Ella Card.
             d. Willfully suppressed evidence
             e. Kidnapping
             f. Committed wanton and incessant Malicious Prosecution against Petitioners
We claim relief from this Honorable Court in accordance with fines and punishments consistent with
those listed in APPENDIX A

    F. Brandy G Hoke
             a. Conspired with Court Officials to interfere with Plaintiffs Civil Rights
We claim relief from this Honorable Court in accordance with fines and punishments consistent with
those listed in APPENDIX A


 __________________                   ______________                ______________

 Dated:04/27/2022                     Dated:04/27/2022              Dated:04/27/2022
 Kenneth Swenson, Pro Se              Cindy Rubina Card, Pro Se     LaDonna Card, Pro Se
 62 Springfield Dr.                   161 Saratoga Ave              100 Debs Place, Apt 16C
 New Oxford, PA 17350                 Brooklyn, NY 11233            Bronx, NY 10475




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                     UNITED STATES DISTRICT COURT FOR
                   THE MIDDLE DISTRICT OF PENNSYLVANIA

                                         CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy was served via overnight, certified
mail to:



  David W. Sunday Jr.
  DISTRICT Attorney’s Office
  45 North George Street
  York, PA 17401
  Erik D Spurlin,                                       Judge Clyde Vedder
  Attorney, MPL Law Firm                                In Individual and Official Capacity
  And in Individual Capacity                            Court of Common Pleas of York County
  96 S. George St                                       45 North George Street
                                                        York, PA 17401
  Suite 520
                                                        OrphansCourt@YorkCountyPA.gov
  York, PA 17401
  espurlin@mpl-law.com
  Raymond Card,                                         Julie Stoil Fernandez,
  Disowned son and Illegal co-guardian                  Attorney, Finkel & Fernandez, LLP.
  124 Shetland Pl                                       And in Individual Capacity
  Warners, NY 13164-3701                                Finkel & Fernandez, LLP
  raycardjr@yahoo.com                                   Elder Law & Special Needs
                                                        16 Court Street, Suite 1007
                                                        Brooklyn, NY 11241
                                                        jstoilfernandez@ffelderlaw.com
  Brandy G Hoke,                                        Kermit Card,
  Attorney, Ream, Carr, Markey, Woloshin & Hunter LLP   Disowned son and Illegal co-guardian
  And in Individual Capacity                            208 Commack Rd
  Court Appointed Attorney for Ella Card (Deceased)     Deer Park, NY 11729-6113
  119 E Market St                                       amthai@optonline.net
  York, PA 17401-1221 FAX: 717 630-2550                 hyperboy209@msn.com




                                                           `

_______________
Kenneth Swenson




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                 AFFIDAVITS OF RESIDENCY




                                                                          f




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                               EXHIBIT 1




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                                        EXHIBIT 2

Ella Card also attended the Elder Abuse Session Hosted by Senator Ted Poe June 15, 2011 at the US
Capital Building in Washington DC (ELLA CARD IN RED DRESS) Deemed incapacitate 3 months
earlier by a judge practicing medicine without a license and before Ella Card even steped foot in the
courtroom to meet Judge Betsy Barros. Does Ella Card look incapacitated to you?? Can an incapacitatged
person testify before Congress? Do you see Cindy Card Speaking for Ella Card? These are the questions.

June 14, 2011




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ELLA CARD IN RED DRESS at the Capital Building in Washington DC Attending the Elder Abuse
Session Hosted by Senator Ted Poe June 15, 2011




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Ella Card marching with NOTEGA after Attending Senator Ted Poe Elder Abuse Session.




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                                            EXHIBIT 3
Ella Card statement (italicized below) made at The House Rayburn Building in Washington DC June 14,
2011

“Congressman Poe, distinguished guests,

My name is Ella Card, and like thousands of other elderly victims in the United States, unjustly ruled
incapacitated and enslaved by our judicial system’s guardianship laws, I exclaim, this is the hour you
must abolish them.

I am 72 years old. I immigrated to this country from Belize and settled in Brooklyn, New York with my
husband. I earned my U.S. Citizenship. Later I earned my Master’s Degree in Education. I was blessed to
work as a teacher for over thirty years and I loved it. I raised four children, I saved, I made good
investments, I bought property, and for a while I was very happy.

I am retired now. My husband died: a victim of the VIOXX drug. My two sons, both ex New York City
Correction Officers, became criminals and drug addicts. They have risen against me to steal everything I
worked hard for. They threatened me with guardianship if I would not succumb to their felonious
behavior. I chose to fight against them.
I was struck by a car and suffered temporary dementia. My youngest son, Kermit, kidnapped me and tried
to murder me. He forced me to sign a Power-of-Attorney and he used it to rob me by means of fraud. I
recovered from my dementia and my eldest daughter LaDonna rescued me from my abduction. Soon
after, my sons petitioned the Brooklyn Supreme Court for guardianship over me. The sins of Elder Abuse
for Profit, Racketeering, and Enslavement that have been an integral part of our court system for many
years was now placing me in a choke hold to- deny me “Life, Liberty, Property, and Happiness.

My son hired an attorney, Bonnie Bernstein. She knew of his crimes against me and overlooked them. She
told my son “Guardianships are 90% approved.” Wouldn’t you like those kinds of odds with every Bill
you sponsor Congressman Poe? The only way I know to guarantee those kinds of odds is if the judges
were in the business of racketeering. It’s easy money for judicial officers at the expense of the lives of the
elderly. It must be abolished.

Judge Betsy Barros, a seasoned Elder Abuser for Profit, was appointed Judge over my case. If you review
her cases, you will find she has a history of pronouncing innocent elderly people with money
incapacitated. She found no fault with the Verified Petition for my case even though it shows my sons lied
and committed criminal acts against me. Judge Barros appointed Court Evaluators, Lisa K. Friedman
and Alexandra Schonfeld, to intentionally produce a report to help her rule me incapacitated. She also
appointed attorney Christine Mooney to represent me. I told Judge Barros I did not want Christine
Mooney to represent me. Judge Barros forced her to represent me. Is this the kind of justice our Congress
wants in our nation’s courtrooms? Do you agree Judges should bully us; take away our right to choose
an attorney so they can manipulate the outcome of guardianship hearings to steal? I ask you to please
open your eyes and realize guardianship judges are a threat to the elderly, a threat to our families, and a
threat to justice.

 Lisa Friedman interviewed me and my daughter Cindy Card. Nothing we said was incorporated into her
final evaluator’s report. The court appointed attorney Christine Mooney was at my interview, knew about
this and allowed it. Everything my wayward sons said plus the evaluators bias remarks were found in the
final report, even though it was all speculation, hearsay, and lies. The law requires clear and convincing
evidence to pronounce someone incapacitated, but it never matters. It’s all about fraud to get someone
else’s money.

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Judge Betsy Barros held an ex parte meeting to appoint me a temporary guardian. I was sold like a slave
to The Vera Institute; an organization with offices inside the Brooklyn Supreme Courthouse. This is a
conflict of interest and conspiracy without shame. If Judge Betsy Barros does not rule me incapacitated,
the Vera Institute does not make money to pay rent. Judge Barros gave no reason for the ex parte
meeting, did not identify any legal reason for calling the hearing. Seven days later, I discover the Vera
Institute closed all of my bank accounts, took control of my money, filed a change of address to get my
mail, demanded keys to my properties, and contacted Belize to try to take control of my property and
bank accounts in that country. That is arrogant and frightening. They had no right to do it. Guardianship
must be abolished.

I effectuated a plan for my estate. If Judge Barros believed I needed a guardian, which I do not, she
should have honored my Durable Power of Attorney. I named my daughter Cindy as my agent. I left
everything to her in an Irrevocable Trust, my Will, and two Quit Claim Deeds. I made it very clear to
Judge Barros several times in court, I wanted my daughter Cindy to manage my affairs. Judge Barros
chose to vilify my daughter to give herself an excuse not to honor my wishes. My daughter Cindy did
nothing wrong, Judge Barros did. She makes rules up as she goes along, plays god, and never adheres to
laws or ethics. She read the contents of my will in court, my last wishes, my final voice. She might as well
have spit on my grave. She told me she was going to fix up my daughter’s building and sell it. Is this a
Judge you would want your loved ones to stand before? If Guardianship continues, it very well may
happen.

I needed money to pay a $7,000 retainer for my attorney of choice. Judge Betsy Barros and the Vera
institute denied that request. Judges love to appoint temporary guardians before the hearing to make the
alleged incapacitated person poor. I was left unable to fight my legal battle. Judge Barros and her court
appointed thieves gained a victory. The Judge’s court appointed attorney did not fight for me. She works
for the judge. This is also part of the conspiracy.

I was ruled incapacitated because Judge Barros says it seems like I have some deficiencies. I have money
I cannot spend unless I call them and cry like a decrepit senile old woman to tell them I need fresh
underwear. Is that the way you want me to walk away from here? I pray you don’t.

Last week I filed a motion to dismiss this bogus petition Pro Ses and now the court is rushing its own
process to appoint permanent guardianship by the end of this week.

The handwriting is on the wall—if not stopped THIS WEEK, Judge Barros will drain my life savings. If
you do not act NOW, this very week, I will be another guardianship statistic.

My story is not just another incident. It IS the incident. It IS the story. And this incident, this story, this
tragedy, this modern day slavery is perpetuated by those who idly sit by and do nothing about it. The
judicial system designed to protect and defend, not incarcerate and destroy the innocent. I am asking you
to eviscerate this oppressive crime of guardianship.

Thank you.”

Ella Card Guardianship Crime-congressional listening session (DC)
https://www.youtube.com/watch?v=KRCdNVL0rK0




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                               EXHIBIT 4




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                                 EXHIBIT 5

                            ELLA CARDS VIDEOS

            Ella Card---"Slavery in the Name of Guardianship" - YouTube

            Ella Card--Thief's Poising as Supreme Court Judges - YouTube




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                               EXHIBIT 6




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                               EXHIBIT 7




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                                                EXHIBIT 8

155 SARATOGA: These were fines accrued under Vera Institutes watch as Guardians:
They allowed the fines to accrue and refused to repair the home. Cindy Card could have
never hindered them from doing the work as she herself had no access. The neighbors
permission was required for access because the wall was inside their gated property.




1.   V 030113LBLVIO07249 LOW PRESSURE BOILER 3/1/2013
2.   V 122619AEUHAZ100385 FAILURE TO MAINTAIN BUILDING WALLS OR APPURTENANCES 12/26/2019 $6,250.00 HEARING 08/20/2020
3.   VECB 022920CSPOJR03 FAILURE TO MAINTAIN BLDG WALLS OR APPURTENANCES. 02/29/2020 $6,250.00 HEARING 07/01/2020
4.   VECB 12162019CSPOUA07 FAILURE TO MAINTAIN BUILDING WALL(S) OR APPURTENANCES 12/16/2019 $6,250.00 HEARING
     11/13/2020
5. VECB 09232019CSPO05         FAILURE TO MAINTAIN BUILDING WALLS OR APPURTENANCES 09/23/2019 $6,250.00 HEARING 08/20/2020




161 SARATOGA




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                               EXHIBIT 9




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                              EXHIBIT 10




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                              EXHIBIT 11




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                              EXHIBIT 12




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                              EXHIBIT 13




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              RETAINER FEE SECTION INTENTIONALLY REMOVED


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                             EXHIBIT 25
                      (highlighted for emphasis)




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                              EXHIBIT 26




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                              EXHIBIT 27




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ALL OTHER EVALUATIONS THROUGHOUT THE YEARS DEEMING
      ELLA CARD COMPETENT BY MEDICAL DOCTORS




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EXHIBIT L




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                               EXHIBIT 29




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                              EXHIBIT 30




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                               EXHIBIT 31




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                              EXHIBIT 32




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                              EXHIBIT 33




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                             EXHIBIT 33A




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                             EXHIBIT 33B




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                              EXHIBIT 34




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                              EXHIBIT 35




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                              EXHIBIT 36
                                  EXHIBIT A




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                               EXHIBIT 37




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                               EXHIBIT 38




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                                               APPENDIX A

    LIST AND DEFINITION OF FEDERAL LAWS VIOLATED AND FEDERAL
   CRIMES PERPETRATED BY RESPONDENT AND EXTRAJUDICIAL JUDGES

18 U.S. Code § 2.Principals
(a) Whoever commits an offense against the United States or aids, abets, counsels, commands, induces or
procures its commission, is punishable as a principal. (b) Whoever willfully causes an act to be done which if
directly performed by him or another would be an offense against the United States, is punishable as a principal.


18 U.S. Code § 3.Accessory after the fact
   Whoever, knowing that an offense against the United States has been committed, receives, relieves, comforts
or assists the offender in order to hinder or prevent his apprehension, trial or punishment, is an accessory after
the fact. Except as otherwise expressly provided by any Act of Congress, an accessory after the fact shall be
imprisoned not more than one-half the maximum term of imprisonment or (notwithstanding section 3571) fined
not more than one half the maximum fine prescribed for the punishment of the principal, or both; or if the
principal is punishable by life imprisonment or death, the accessory shall be imprisoned not more than 15 years.


18 U.S. Code § 4.Misprision of felony
   Whoever, having knowledge of the actual commission of a felony cognizable by a court of the United States,
conceals and does not as soon as possible make known the same to some judge or other person in civil or
military authority under the United States, shall be fined under this title or imprisoned not more than three
years, or both.


18 U.S. Code § 201.Bribery of public officials and witnesses
(b)Whoever—
    (2) being a public official or person selected to be a public official, directly or indirectly, corruptly demands,
   seeks, receives, accepts, or agrees to receive or accept anything of value personally or for any other person or
   entity, in return for:
   (A) being influenced in the performance of any official act;
   (B) being influenced to commit or aid in committing, or to collude in, or allow, any fraud, or make opportunity
   for the commission of any fraud, on the United States; or
   (C) being induced to do or omit to do any act in violation of the official duty of such official or person;
   (3) directly or indirectly, corruptly gives, offers, or promises anything of value to any person, or offers or
   promises such person to give anything of value to any other person or entity, with intent to influence the
   testimony under oath or affirmation of such first-mentioned person as a witness upon a trial, hearing, or other
   proceeding, before any court, any committee of either House or both Houses of Congress, or any agency,
   commission, or officer authorized by the laws of the United States to hear evidence or take testimony, or
   with intent to influence such person to absent himself therefrom;
   (4) directly or indirectly, corruptly demands, seeks, receives, accepts, or agrees to receive or accept anything
   of value personally or for any other person or entity in return for being influenced in testimony under oath or
   affirmation as a witness upon any such trial, hearing, or other proceeding, or in return for absenting himself
   therefrom;
   shall be fined under this title or not more than three times the monetary equivalent of the thing of value,
   whichever is greater, or imprisoned for not more than fifteen years, or both, and may be disqualified from
   holding any office of honor, trust, or profit under the United States.
   (c) Whoever—

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       (1) otherwise than as provided by law for the proper discharge of official duty—
    (B) being a public official, former public official, or person selected to be a public official, otherwise than as
   provided by law for the proper discharge of official duty, directly or indirectly demands, seeks, receives, accepts,
   or agrees to receive or accept anything of value personally for or because of any official act performed or to be
   performed by such official or person;
       (2) directly or indirectly, gives, offers, or promises anything of value to any person, for or because of the
       testimony under oath or affirmation given or to be given by such person as a witness upon a trial, hearing, or
       other proceeding, before any court, any committee of either House or both Houses of Congress, or
       any agency, commission, or officer authorized by the laws of the United States to hear evidence or take
       testimony, or for or because of such person’s absence therefrom;
       (3) directly or indirectly, demands, seeks, receives, accepts, or agrees to receive or accept anything of value
       personally for or because of the testimony under oath or affirmation given or to be given by such person as a
       witness upon any such trial, hearing, or other proceeding, or for or because of such person’s absence
       therefrom; shall be fined under this title or imprisoned for not more than two years, or both.


   18 U.S. Code § 208. Acts affecting a personal financial interest (a) Except as permitted by subsection (b)
   hereof, whoever, being an officer or employee of the executive branch of the United States Government,
   or of any independent agency of the United States, a Federal Reserve bank director, officer, or employee, or
   an officer or employee of the District of Columbia, including a special Government employee, participates
   personally and substantially as a Government officer or employee, through decision, approval, disapproval,
   recommendation, the rendering of advice, investigation, or otherwise, in a judicial or other proceeding,
   application, request for a ruling or other determination, contract, claim, controversy, charge, accusation, arrest,
   or other particular matter in which, to his knowledge, he, his spouse, minor child, general partner,
   organization in which he is serving as officer, director, trustee, general partner or employee, or any person or
   organization with whom he is negotiating or has any arrangement concerning prospective employment, has a
   financial interest—
   Shall be subject to the penalties set forth in section 216 of this title.

     18 U.S. Code § 241.Conspiracy against rights
      If two or more persons conspire to injure, oppress, threaten, or intimidate any person in any State,
   Territory, Commonwealth, Possession, or District in the free exercise or enjoyment of any right or privilege
   secured to him by the Constitution or laws of the United States, or because of his having so exercised the same;
   or
      If two or more persons go in disguise on the highway, or on the premises of another, with intent to prevent or
   hinder his free exercise or enjoyment of any right or privilege so secured—
      They shall be fined under this title or imprisoned not more than ten years, or both; and if death results from
   the acts committed in violation of this section or if such acts include kidnapping or an attempt to kidnap,
   aggravated sexual abuse or an attempt to commit aggravated sexual abuse, or an attempt to kill, they shall be
   fined under this title or imprisoned for any term of years or for life, or both, or may be sentenced to death.


18 U.S. Code § 242.Deprivation of rights under color of law
      Whoever, under color of any law, statute, ordinance, regulation, or custom, willfully subjects any person in
   any State, Territory, Commonwealth, Possession, or District to the deprivation of any rights, privileges, or
   immunities secured or protected by the Constitution or laws of the United States, or to different punishments,
   pains, or penalties, on account of such person being an alien, or by reason of his color, or race, than are
   prescribed for the punishment of citizens, shall be fined under this title or imprisoned not more than one year, or
   both; and if bodily injury results from the acts committed in violation of this section or if such acts include the
   use, attempted use, or threatened use of a dangerous weapon, explosives, or fire, shall be fined under
   this title or imprisoned not more than ten years, or both; and if death results from the acts committed in
   violation of this section or if such acts include kidnapping or an attempt to kidnap, aggravated sexual abuse, or an
   attempt to commit aggravated sexual abuse, or an attempt to kill, shall be fined under this title, or imprisoned

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   for any term of years or for life, or both, or may be sentenced to death.


18 U.S. Code § 371.Conspiracy to commit offense or to defraud United States
       If two or more persons conspire either to commit any offense against the United States, or to defraud the
   United States, or any agency thereof in any manner or for any purpose, and one or more of such persons do any
   act to effect the object of the conspiracy, each shall be fined under this title or imprisoned not more than five
   years, or both.
   If, however, the offense, the commission of which is the object of the conspiracy, is a misdemeanor only, the
   punishment for such conspiracy shall not exceed the maximum punishment provided for such misdemeanor.


18 U.S. Code § 373.Solicitation to commit a crime of violence
     (a) Whoever, with intent that another person engage in conduct constituting a felony that has as an element
   the use, attempted use, or threatened use of physical force against property or against the person of another in
   violation of the laws of the United States, and under circumstances strongly corroborative of that intent, solicits,
   commands, induces, or otherwise endeavors to persuade such other person to engage in such conduct, shall be
   imprisoned not more than one-half the maximum term of imprisonment or (notwithstanding section 3571) fined
   not more than one-half of the maximum fine prescribed for the punishment of the crime solicited, or both; or if
   the crime solicited is punishable by life imprisonment or death, shall be imprisoned for not more than twenty
   years. (b) It is an affirmative defense to a prosecution under this section that, under circumstances manifesting a
   voluntary and complete renunciation of his criminal intent, the defendant prevented the commission of the
   crime solicited. A renunciation is not “voluntary and complete” if it is motivated in whole or in part by a decision
   to postpone the commission of the crime until another time or to substitute another victim or another but
   similar objective. If the defendant raises the affirmative defense at trial, the defendant has the burden of proving
   the defense by a preponderance of the evidence. (c) It is not a defense to a prosecution under this section that
   the person solicited could not be convicted of the crime because he lacked the state of mind required for its
   commission, because he was incompetent or irresponsible, or because he is immune from prosecution or is not
   subject to prosecution.
     18 U.S. Code § 641.Public money, property or records
       Whoever embezzles, steals, purloins, or knowingly converts to his use or the use of another, or without
   authority, sells, conveys or disposes of any record, voucher, money,          or    thing     of value of    the
   United      States or    of any department or agency thereof, or any property made or being made under
   contract for the United States or any department or agency thereof; or
       Whoever receives, conceals, or retains the same with intent to convert it to his use or gain, knowing it to have
   been embezzled, stolen, purloined or converted—
       Shall be fined under this title or imprisoned not more than ten years, or both; but if the value of such property
   in the aggregate, combining amounts from all the counts for which the defendant is convicted in a single case,
   does not exceed the sum of $1,000, he shall be fined under this title or imprisoned not more than one year, or
   both.

     18 U.S. Code § 645.Court officers generally
   Whoever, being a United States marshal, clerk, receiver, referee, trustee, or other officer of a United States
   court, or any deputy, assistant, or employee of any such officer, retains or converts to his own use or to the use
   of another or after demand by the party entitled thereto, unlawfully retains any money coming into his hands
   by virtue of his official relation, position or employment, is guilty of embezzlement and shall, where the offense
   is not otherwise punishable by enactment of Congress, be fined under this title or not more than double the
   value of the money so embezzled, whichever is greater, or imprisoned not more than ten years, or both; but if
   the amount embezzled does not exceed $1,000, he shall be fined under this title or imprisoned not more than
   one year, or both.

    18       U.S. Code § 654.Officer            or       employee           of       United States     converting
             property of another

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    Whoever, being an officer or employee of the United States or of any department or agency
thereof, embezzles or wrongfully converts to his own use the money or property of another which comes into his
possession or under his control in the execution of such office or employment, or under color or claim of
authority as such officer or employee, shall be fined under this title or not more than the value of the money and
property thus embezzled or converted, whichever is greater, or imprisoned not more than ten years, or both; but
if the sum embezzled is
$1,000 or less, he shall be fined under this title or imprisoned not more than one year, or both.

  18 U.S. Code § 872.Extortion by officers or employees of the United States
   Whoever, being an officer, or employee of the United States or any department or agency
thereof, or representing himself to be or assuming to act as such, under color or pretense of office or
employment commits or attempts an act of extortion, shall be fined under this title or imprisoned not more than
three years, or both; but if the amount so extorted or demanded does not exceed $1,000, he shall be fined under
this title or imprisoned not more than one year, or both.


  18 U.S. Code § 880.Receiving the proceeds of extortion
    A person who receives, possesses, conceals, or disposes of any money or other property which was obtained
from the commission of any offense under this chapter that is punishable by imprisonment for more than 1 year,
knowing the same to have been unlawfully obtained, shall be imprisoned not more than 3 years, fined under this
title, or both.



  18 U.S. Code § 912.Officer or employee of the United States
Whoever falsely assumes or pretends to be an officer or employee acting under the authority of the United
States or any department, agency or officer thereof, and acts as such, or in such pretended character demands or
obtains any money, paper, document, or thing of value, shall be fined under this title or imprisoned not more
than three years, or both.
 generally
   (a) Except as otherwise provided in this section, whoever, in any matter within the jurisdiction of the executive,
   legislative, or judicial branch of the Government of the United States, knowingly and willfully— (1) falsifies,
   conceals, or covers up by any trick, scheme, or device a material fact; (2) makes any materially false, fictitious,
   or fraudulent statement or representation; or (3) makes or uses any false writing or document knowing the
   same to contain any materially false, fictitious, or fraudulent statement or entry; shall be fined under this title,
   imprisoned not more than 5 years or, if the offense involves international or domestic terrorism (as defined in
   section 2331), imprisoned not more than 8 years, or both. If the matter relates to an offense under chapter
   109A, 109B, 110, or 117, or section 1591, then the term of imprisonment imposed under this section shall be
   not more than 8 years.


  18 U.S. Code § 1341.Frauds and swindles
   Whoever, having devised or intending to devise any scheme or artifice to defraud, or for obtaining money or
property by means of false or fraudulent pretenses, representations, or promises, or to sell, dispose of, loan,
exchange, alter, give away, distribute, supply, or furnish or procure for unlawful use any counterfeit or spurious
coin, obligation, security, or other article, or anything represented to be or intimated or held out to be such
counterfeit or spurious article, for the purpose of executing such scheme or artifice or attempting so to do,
places in any post office or authorized depository for mail matter, any matter or thing whatever to be sent or
delivered by the Postal Service, or deposits or causes to be deposited any matter or thing whatever to be sent or
delivered by any private or commercial interstate carrier, or takes or receives therefrom, any such matter or
thing, or knowingly causes to be delivered by mail or such carrier according to the direction thereon, or at the
place at which it is directed to be delivered by the person to whom it is addressed, any such matter or thing, shall
be fined under this title or imprisoned not more than 20 years, or both.


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 18 U.S. Code § 1346.Definition of “scheme or artifice to defraud”
For the purposes of this chapter, the term “scheme or artifice to defraud” includes a scheme or artifice to
deprive another of the intangible right of honest services.
 SCHEME OR ARTIFICE TO DEFRAUD
A scheme or artifice to deprive another of the intangible right of honest services. 18 USC; Any plan or course of
action intended to deceive others, and to obtain, by false or fraudulent pretenses, representations, or promises,
money or property from persons so deceived.
  What is SCHEME TO DEFRAUD - Black's Law Dictionary
thelawdictionary.org/scheme-to-defraud
SCHEME TO DEFRAUD: a planned attempt to deceive and cheat and a conspiracy to carry out a fraud.



 18 U.S. Code § 1349.Attempt and conspiracy
Any person who attempts or conspires to commit any offense under this chapter shall be subject to the same
penalties as those prescribed for the offense, the commission of which was the object of the attempt or
conspiracy.

18 U.S. Code § 1461.Mailing obscene or crime-inciting matter
Every obscene, lewd, lascivious, indecent, filthy or vile article, matter, thing, device, or substance; and—
Whoever knowingly uses the mails for the mailing, carriage in the mails, or delivery of anything declared by this
section or section 3001(e) of title 39 to be nonmailable, or knowingly causes to be delivered by mail according to
the direction thereon, or at the place at which it is directed to be delivered by the person to whom it is
addressed, or knowingly takes any such thing from the mails for the purpose of circulating or disposing thereof,
or of aiding in the circulation or disposition thereof, shall be fined under this title or imprisoned not more than
five years, or both, for the first such offense, and shall be fined under this title or imprisoned not more than ten
years, or both, for each such offense thereafter.

18 U.S. Code § 1465.Production and transportation of obscene matters for sale or distribution
Whoever knowingly produces with the intent to transport, distribute, or transmit in interstate or foreign
commerce, or whoever knowingly transports or travels in, or uses a facility or means of, interstate or foreign
commerce or an interactive computer service (as defined in section 230(e)(2) [1] of the Communications Act of
1934) in or affecting such commerce, for the purpose of sale or distribution of any obscene, lewd, lascivious, or
filthy book, pamphlet, picture, film, paper, letter, writing, print, silhouette, drawing, figure, image, cast,
phonograph recording, electrical transcription or other article capable of producing sound or any other matter of
indecent or immoral character, shall be fined under this title or imprisoned not more than five years, or both.

18 U.S. Code § 1512.Tampering with a witness, victim, or an informant (a)
    (1) Whoever kills or attempts to kill another person, with intent to—
(A)prevent the attendance or testimony of any person in an official proceeding; (B)prevent the production of a
record, document, or other object, in an official proceeding; or
(C)prevent the communication by any person to a law enforcement officer or judge of the United States of
information relating to the commission or possible commission of a Federal offense or a violation of conditions of
probation, parole, or release pending judicial proceedings;
shall be punished as provided in paragraph (3).
    (2) Whoever uses physical force or the threat of physical force against any person, or attempts to do so, with
    intent to—
    (A) influence, delay, or prevent the testimony of any person in an official proceeding;
    (B) cause or induce any person to—
         (i)      withhold testimony, or withhold a record, document, or other object, from an official
         proceeding;

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         (ii)      alter, destroy, mutilate, or conceal an object with intent to impair the integrity or availability of
         the object for use in an official proceeding;
         (iii)     evade legal process summoning that person to appear as a witness, or to produce a record,
         document, or other object, in an official proceeding; or
         (iv)      be absent from an official proceeding to which that person has been summoned by legal process;
         or
   (C) hinder, delay, or prevent the communication to a law enforcement officer or judge of the United States of
   information relating to the commission or possible commission of a Federal offense or a violation of conditions
   of probation, supervised release, parole, or release pending judicial proceedings; shall be punished as provided
   in paragraph (3).
   (3) The punishment for an offense under this subsection is—
   (A) in the case of a killing, the punishment provided in sections 1111 and 1112;
   (B) in the case of—
   (i) an attempt to murder; or
   (ii) the use or attempted use of physical force against any person; imprisonment for
   not more than 30 years; and
   (C) in the case of the threat of use of physical force against any person, imprisonment for not more than 20
   years.
   (b) Whoever knowingly uses intimidation, threatens, or corruptly persuades another person, or attempts to
   do so, or engages in misleading conduct toward another person, with intent to—
   (1) influence, delay, or prevent the testimony of any person in an official proceeding;
   (2) cause or induce any person to—
   (A) withhold testimony, or withhold a record, document, or other object, from an official proceeding;
   (B) alter, destroy, mutilate, or conceal an object with intent to impair the object’s integrity or availability for
   use in an official proceeding;
   (C) evade legal process summoning that person to appear as a witness, or to produce a record, document, or
   other object, in an official proceeding; or
   (D) be absent from an official proceeding to which such person has been summoned by legal process; or
   (3) hinder, delay, or prevent the communication to a law enforcement officer or judge of the United States of
   information relating to the commission or possible commission           of a                  Federal
        offense           or    a     violation      of             conditions of        probation [1]     supervised
   release,,[1] parole, or release pending judicial proceedings; shall be fined under this title or imprisoned not
   more than 20 years, or both. (c)Whoever corruptly—
   (1) alters, destroys, mutilates, or conceals a record, document, or other object, or attempts to do so, with the
   intent to impair the object’s integrity or availability for use in an official proceeding; or
   (2) otherwise obstructs, influences, or impedes any official proceeding, or attempts to do so,
shall be fined under this title or imprisoned not more than 20 years, or both. (d)Whoever intentionally harasses
another person and thereby hinders, delays, prevents, or dissuades any person from—
   (1) attending or testifying in an official proceeding;
   (2) reporting to a law enforcement officer or judge of the United States the commission or possible commission
   of a Federal offense or a violation of conditions of probation 1 supervised release,,1 parole, or release pending
    judicial proceedings; (3)arresting or seeking the arrest of another person in connection with a Federal offense;
    or
(4)causing a criminal prosecution, or a parole or probation revocation proceeding, to be sought or instituted, or
assisting in such prosecution or proceeding; or attempts to do so, shall be fined under this title or imprisoned not
more than 3 years, or both.
    (e) In a prosecution for an offense under this section, it is an affirmative defense, as to which the defendant
    has the burden of proof by a preponderance of the evidence, that the conduct consisted solely of lawful conduct
    and that the defendant’s sole intention was to encourage, induce, or cause the other person to testify


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    truthfully. (f)For the purposes of this section—
    (1) an official proceeding need not be pending or about to be instituted at the time of the offense; and
    (2) the testimony, or the record, document, or other object need not be admissible in evidence or free of a
    claim of privilege.
    (g) In a prosecution for an offense under this section, no state of mind need be proved with respect to the
    circumstance—
(1that the official proceeding before a judge, court, magistrate judge, grand jury, or government agency is before
a judge or court of the United States, a United States magistrate judge, a bankruptcy judge, a Federal grand jury,
or a Federal Government agency; or
(2)that the judge is a judge of the United States or that the law enforcement officer is an officer or employee of
the Federal Government or a person authorized to act for or on behalf of the Federal Government or serving the
Federal Government as an adviser or consultant.
    (h) There is extraterritorial Federal jurisdiction over an offense under this section. (i)A prosecution under this
    section or section 1503 may be brought in the district in which the official proceeding (whether or not pending
    or about to be instituted) was intended to be affected or in the district in which the conduct constituting the
    alleged offense occurred.
    (j) If the offense under this section occurs in connection with a trial of a criminal case, the maximum term of
    imprisonment which may be imposed for the offense shall be the higher of that otherwise provided by law or
    the maximum term that could have been imposed for any offense charged in such case.
    (k) Whoever conspires to commit any offense under this section shall be subject to the same penalties as those
    prescribed for the offense the commission of which was the object of the conspiracy.


18 U.S.C. § 1513.Retaliating against a witness, victim, or an informant (a)
   (1) Whoever kills or attempts to kill another person with intent to retaliate against any person for—
   (A) the attendance of a witness or party at an official proceeding, or any testimony given or any record,
   document, or other object produced by a witness in an official proceeding; or
   (B) providing to a law enforcement officer any information relating to the commission or possible commission
   of a Federal offense or a violation of conditions of probation, supervised release, parole, or release pending
   judicial proceedings, shall be punished as provided in paragraph (2).
   (2) The punishment for an offense under this subsection is—
   (A) in the case of a killing, the punishment provided in sections 1111 and 1112; and
   (B) in the case of an attempt, imprisonment for not more than 30 years.
   (b) Whoever knowingly engages in any conduct and thereby causes bodily injury to another person or damages
   the tangible property of another person, or threatens to do so, with intent to retaliate against any person for—
   (1) the attendance of a witness or party at an official proceeding, or any testimony given or any record,
   document, or other object produced by a witness in an official proceeding; or
   (2) any information relating to the commission or possible commission of a Federal offense or a violation of
   conditions of probation, supervised release, parole, or release pending judicial proceedings given by a person
   to a law enforcement officer; or attempts to do so, shall be fined under this title or imprisoned not more than
   20 years, or both.
   (c) If the retaliation occurred because of attendance at or testimony in a criminal case, the maximum term of
   imprisonment which may be imposed for the offense under this section shall be the higher of that otherwise
   provided by law or the maximum term that could have been imposed for any offense charged in such case.
   (d)There is extraterritorial Federal jurisdiction over an offense under this section. (e)Whoever knowingly, with
   the intent to retaliate, takes any action harmful to any person, including interference with the lawful
   employment or livelihood of any person, for providing to a law enforcement officer any truthful information
   relating to the commission or possible commission of any Federal offense, shall be fined under this title or
   imprisoned not more than 10 years, or both.
   (f) Whoever conspires to commit any offense under this section shall be subject to the same penalties as those
   prescribed for the offense the commission of which was the object of the conspiracy.

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   (g) A prosecution under this section may be brought in the district in which the official proceeding (whether
   pending, about to be instituted, or completed) was intended to be affected, or in which the conduct constituting
   the alleged offense occurred.


18 U.S. Code § 1514.Civil action to restrain harassment of a victim or witness(a)
   (1) A United States district court, upon application of the attorney for the Government, shall issue a temporary
   restraining order prohibiting harassment of a victim or witness in a Federal criminal case if the court finds, from
   specific facts shown by affidavit or by verified complaint, that there are reasonable grounds to believe that
   harassment of an identified victim or witness in a Federal criminal case exists or that such order is necessary
   to prevent and restrain an offense under section 1512 of this title, other than an offense consisting of
   misleading conduct, or under section 1513 of this title.
 (2)
   (A) A temporary restraining order may be issued under this section without written or oral notice to the
   adverse party or such party’s attorney in a civil action under this section if the court finds, upon written
   certification of facts by the attorney for the Government, that such notice should not be required and that
   there is a reasonable probability that the Government will prevail on the merits.
   (B) A temporary restraining order issued without notice under this section shall be endorsed with the date
   and hour of issuance and be filed forthwith in the office of the clerk of the court issuing the order.
   (C) A temporary restraining order issued under this section shall expire at such time, not to exceed 14 days
   from issuance, as the court directs; the court, for good cause shown before expiration of such order, may
   extend the expiration date of the order for up to 14 days or for such longer period agreed to by the adverse
   party. (D)When a temporary restraining order is issued without notice, the motion for a protective order shall
   be set down for hearing at the earliest possible time and takes precedence over all matters except older matters
   of the same character, and when such motion comes on for hearing, if the attorney for the Government does
   not proceed with the application for a protective order, the court shall dissolve the temporary restraining order.
   (E) If on two days’ notice to the attorney for the Government, excluding intermediate weekends and holidays,
   or on such shorter notice as the court may prescribe, the adverse party appears and moves to dissolve or modify
   the temporary restraining order, the court shall proceed to hear and determine such motion as expeditiously
   as the ends of justice require.
   (F) A temporary restraining order shall set forth the reasons for the issuance of such order, be specific in terms,
   and describe in reasonable detail (and not by reference to the complaint or other document) the act or acts
   being restrained.
 (b)
   (1) A United States district court, upon motion of the attorney for the Government, or its own motion, shall
   issue a protective order prohibiting harassment of a victim or witness in a Federal criminal case or investigation
   if the court, after a hearing, finds by a preponderance of the evidence that harassment of an identified victim
   or witness in a Federal criminal case or investigation exists or that such order is necessary to prevent and
   restrain an offense under section 1512 of this title, other than an offense consisting of misleading conduct, or
   under section 1513 of this title. (2)In the case of a minor witness or victim, the court shall issue a protective
   order prohibiting harassment or intimidation of the minor victim or witness if the court finds evidence that the
   conduct at issue is reasonably likely to adversely affect the willingness of the minor witness or victim to testify
   or otherwise participate in the Federal criminal case or investigation. Any hearing regarding a protective order
   under this paragraph shall be conducted in accordance with paragraphs (1) and (3), except that the court may
   issue an ex parte emergency protective order in advance of a hearing if exigent circumstances are present. If
   such an ex parte order is applied for or issued, the court shall hold a hearing not later than 14 days after the
   date such order was applied for or is issued.
   (3) At the hearing referred to in paragraph (1) of this subsection, any adverse party named in the complaint
   shall have the right to present evidence and cross-examine witnesses.
   (4) A protective order shall set forth the reasons for the issuance of such order, be specific in terms, describe
   in reasonable detail the act or acts being restrained. (5)The court shall set the duration of effect of the

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    protective order for such period as the court determines necessary to prevent harassment of the victim or
    witness but in no case for a period in excess of three years from the date of such order’s issuance. The attorney
    for the Government may, at any time within ninety days before the expiration of such order, apply for a new
    protective order under this section, except that in the case of a minor victim or witness, the court may order
    that such protective order expires on the later of 3 years after the date of issuance or the date of the eighteenth
    birthday of that minor victim or witness.
(c)Whoever knowingly and intentionally violates or attempts to violate an order issued under this section shall be
fined under this title, imprisoned not more than 5 years, or both.
  (d)
    (1) As used in this section—
    (A) the term “course of conduct” means a series of acts over a period of time, however short, indicating a
    continuity of purpose;
    (B) the term “harassment” means a serious act or course of conduct directed at a specific person that—
    (i) causes substantial emotional distress in such person; and
    (ii) serves no legitimate purpose;
    (C) the term “immediate family member” has the meaning given that term in section 115 and includes
    grandchildren;
    (D) the term “intimidation” means a serious act or course of conduct directed at a specific person that—
    (i) causes fear or apprehension in such person; and
    (ii) serves no legitimate purpose;
    (E) the term “restricted personal information” has the meaning give [1] that term in section 119;
    (F) the term “serious act” means a single act of threatening, retaliatory, harassing, or violent conduct that is
    reasonably likely to influence the willingness of a victim or witness to testify or participate in a Federal criminal
    case or investigation; and (G)the term “specific person” means a victim or witness in a Federal criminal case or
    investigation, and includes an immediate family member of such a victim or witness.
    (2) For purposes of subparagraphs (B)(ii) and (D)(ii) of paragraph (1), a court shall presume, subject to rebuttal
    by the person, that the distribution or publication using the Internet of a photograph of, or restricted personal
    information regarding, a specific person serves no legitimate purpose, unless that use is authorized by that
    specific person, is for news reporting purposes, is designed to locate that specific person (who has been
    reported to law enforcement as a missing
person), or is part of a government-authorized effort to locate a fugitive or person of interest in a criminal,
antiterrorism, or national security investigation.


18 U.S. Code § 1519.Destruction, alteration, or falsification of records in Federal investigations and bankruptcy
Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any record,
document, or tangible object with the intent to impede, obstruct, or influence the investigation or proper
administration of any matter within the jurisdiction of any department or agency of the United States or any case
filed under title 11, or in relation to or contemplation of any such matter or case, shall be fined under this title,
imprisoned not more than 20 years, or both.
 25 CFR § 11.420 - Tampering with records. A person commits a misdemeanor if, knowing that he or she has no
privilege to do so, he or she falsifies, destroys, removes or conceals any writing or record, with purpose to
deceive or injure anyone or to conceal any wrongdoing.
       1663. PROTECTION OF GOVERNMENT PROPERTY -- PROTECTION OF
PUBLIC RECORDS AND DOCUMENTS The taking of a public record or document is prohibited by 18 U.S.C. § 641.
The destruction of such records may be reached under 18 U.S.C. § 1361. In both instances, however, proving a
$100 loss, the prerequisite to a felony conviction, may be difficult. Thus, neither of these statutes adequately
protects government records. The necessary measure of protection for government documents and records is
provided by 18 U.S.C. § 2071. Section 2071(a) contains a broad prohibition against destruction of government
records or attempts to destroy such records.


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18 U.S. Code § 1621. Perjury generally
Whoever—
    (1)       having taken an oath before a competent tribunal, officer, or person, in any case in which a law of the
    United States authorizes an oath to be administered, that he will testify, declare, depose, or certify truly, or
    that any written testimony, declaration, deposition, or certificate by him subscribed, is true, willfully and
    contrary to such oath states or subscribes any material matter which he does not believe to be true; or
    (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
    section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he does not
    believe to be true;
is guilty of perjury and shall, except as otherwise expressly provided by law, be fined under this title or
imprisoned not more than five years, or both. This section is applicable whether the statement or subscription
is made within or without the United States.


18 U.S. Code § 1622.Subornation of perjury
   Whoever procures another to commit any perjury is guilty of subornation of perjury, and shall be fined under
this title or imprisoned not more than five years, or both.


18 U.S. Code § 1623.False declarations before grand jury or court
(a) Whoever under oath (or in any declaration, certificate, verification, or statement under penalty of
perjury as permitted under section 1746 of title 28, United States Code) in any proceeding before or ancillary
to any court or grand jury of the United States knowingly makes any false material declaration or makes or uses
any other information, including any book, paper, document, record, recording, or other material, knowing the
same to contain any false material declaration, shall be fined under this title or imprisoned not more than five
years, or both.


18 U.S. Code § 1951.Interference with commerce by threats or violence
     (a) Whoever in any way or degree obstructs, delays, or affects commerce or the movement of any article
   or commodity in commerce, by robbery or extortion or attempts or conspires so to do, or commits or threatens
   physical violence to any person or property in furtherance of a plan or purpose to do anything in violation of
   this section shall be fined under this title or imprisoned not more than twenty years, or both. (b)As used in this
   section— (1) The term “robbery” means the unlawful taking or obtaining of personal property from the person
   or in the presence of another, against his will, by means of actual or threatened force, or violence, or fear of
   injury, immediate or future, to his person or property, or property in his custody or possession, or the person
   or property of a relative or member of his family or of anyone in his company at the time of the taking or
   obtaining. (2) The term “extortion” means the obtaining of property from another, with his consent, induced
   by wrongful use of actual or threatened force, violence, or fear, or under color of official right.


18 U.S.C.§ 1962(b) It shall be unlawful for any person through a pattern of racketeering activity or through
collection of an unlawful debt to acquire or maintain, directly or indirectly, any interest in or control of any
enterprise which is engaged in, or the activities of which affect, interstate or foreign commerce.


42 U.S. Code § 1983.Civil action for deprivation of rights
Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State or Territory
or the District of Columbia, subjects, or causes to be subjected, any citizen of the United States or other person
within the jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws, shall be liable to the party injured in an action at law, suit in equity, or other proper

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proceeding for redress, except that in any action brought against a judicial officer for an act or omission taken in
such officer’s judicial capacity, injunctive relief shall not be granted unless a declaratory decree was violated or
declaratory relief was unavailable. For the purposes of this section, any Act of Congress applicable exclusively to
the District of Columbia shall be considered to be a statute of the District of Columbia.


42 U.S. Code § 1985 (2)OBSTRUCTING JUSTICE; INTIMIDATING PARTY, WITNESS, OR JUROR
  If two or more persons in any State or Territory conspire to deter, by force, intimidation, or threat, any party or
witness in any court of the United States from attending such court, or from testifying to any matter pending
therein, freely, fully, and truthfully, or to injure such party or witness in his person or property on account of his
having so


42 U.S.C. § 1986:
Every person who, having knowledge that any of the wrongs conspired to be done, and mentioned in section
1985 of this title, are about to be committed, and having power to prevent or aid in preventing the commission
of the same, neglects or refuses so to do, if such wrongful act be committed, shall be liable to the party
injured, or his legal representatives, for all damages caused by such wrongful act, which such person by
reasonable diligence could have prevented; and such damages may be recovered in an action on the
case; and any number of persons guilty of such wrongful neglect or refusal may be joined as defendants in
the action; and if the death of any party be caused by any such wrongful act and neglect, the legal
representatives of the deceased shall have such action therefor, and may recover not exceeding $5,000 damages
therein, for the benefit of the widow of the deceased, if there be one, and if there be no widow, then for the
benefit of the next of kin of the deceased. But no action under the provisions of this section shall be sustained
which is not commenced within one year after the cause of action has accrued.

  Retaliation:
    42 U.S. Code § 12203.Prohibition against retaliation and coercion (a)RETALIATION No person shall
      discriminate against any individual because
such individual has opposed any act or practice made unlawful by this chapter or because such individual made a
charge, testified, assisted, or participated in any manner in an investigation, proceeding, or hearing under this
chapter. (b)INTERFERENCE, COERCION, OR INTIMIDATION It shall be unlawful to coerce, intimidate, threaten, or
interfere with any individual in the exercise or enjoyment of, or on account of his or her having exercised or
enjoyed, or on account of his or her having aided or encouraged any other individual in the exercise or
enjoyment of, any right granted or protected by this chapter.


             PUBLIC CORRUPTION. COLOR OF LAW AND HUMAN RIGHT VIOLATIONS

The actions of these judges are far worse than individual acts or white collar crimes. The crimes perpetrated by
these judges are public corruption, perpetrated under “color of law” and constitute massive human rights
violations.
1. Several statutes, mostly codified in Title 18 of the USC, provide for federal prosecution of public corruption:
        a. the Hobbs Act (enacted 1934),
        b.   the mail and wire fraud statutes (enacted 1872),
        c.   the honest services fraud provision,
        d.   the Travel Act (enacted 1961),
        e.   the Racketeer Influenced and Corrupt Organizations Act (RICO) (enacted 1970)
        f.   the federal official bribery and gratuity statute, 18 U.S.C. § 201 (enacted 1962),
        g.    the Foreign Corrupt Practices Act (FCPA) 15 U.S.C. § 78dd (enacted 1977),

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        h. and the federal program bribery statute, 18 U.S.C. § 666 (enacted 1984)

2.   “Color of law” includes violations under 18 U.S.C. § 241.Conspiracy against rights; 18        U.S.C. § 242.
        Deprivation        of        rights under color       of      law;     18
        U.S.C. § 1951.Interference with commerce by threats or violence.

3.   Human rights violations:

         28 U.S. Code § 509B. Section to enforce human rights laws
        (a) Not later than 90 days after the date of the enactment of the Human Rights Enforcement Act of 2009,
        the Attorney General shall establish a section within the Criminal Division of the Department of Justice
        with responsibility for the enforcement of laws against suspected participants in serious human rights
        offenses.
        (b) The section established under subsection (a) is authorized to—
        (1) take appropriate legal action against individuals suspected of participating in serious human rights
        offenses;
        (2) coordinate any such legal action with the United States Attorney for the relevant jurisdiction.
        (c) The Attorney General shall, as appropriate, consult with the Secretary of Homeland Security and the
        Secretary of State.
        (d) In determining the appropriate legal action to take against individuals who are suspected of
        committing serious human rights offenses under Federal law, the section shall take into consideration the
        availability of criminal prosecution under the laws of the United States for such offenses or in a foreign
        jurisdiction that is prepared to undertake a prosecution for the conduct that forms the basis for such
        offenses.
        (e) The term “serious human rights offenses” includes violations of Federal criminal laws relating to
        genocide, torture, war crimes…


18 U.S.C. § 2340 - U.S. Code - Crimes and Criminal Procedure - Definitions
         (1) “torture” means an act committed by a person acting under the color of law specifically intended to inflict
         severe physical or mental pain or suffering (other than pain or suffering incidental to lawful sanctions) upon
         another person within his custody or physical control.




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